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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA


 BMG RIGHTS MANAGEMENT                )
 (US) LLC, and ROUND HILL             )
 MUSIC LP                             )
                                      )
             Plaintiffs,              )
                                      )
       v.                             )       Case No. 1:14-cv-1611(LOG/JFA)
                                      )
 COX COMMUNICATIONS, INC. and         )
 COXCOM, LLC,                         )
                                      )
             Defendants.              )
                                      )

                           DECLARATION OF ROBERT BRIGGS




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 I, Robert Briggs, hereby declare as follows:

        1.      I am the Vice President of Copyright Administration at BMG Rights Management

 (US) LLC (“BMG”) and I submit this declaration in support of BMG’s motion for partial

 summary judgment.

        2.      BMG is an international music company that is focused on the management of

 music publishing and recording rights. BMG provides many services, including rights

 administration, managing royalties, licensing works for reproduction, digital distribution,

 physical distribution, synchronization, and public performance, and exploitation of works

 worldwide.

        3.      As the Vice President of Copyright Administration, I oversee BMG’s copyright

 department, which is responsible for musical composition copyright registrations, client

 relations, client services, and the integration of copyright assets into BMG whether acquired

 through agreements directly with the applicable songwriters or through the acquisition of

 publishing catalogs comprised of musical compositions. I am tasked with, among other things,

 understanding BMG’s rights in the copyrights it owns, how those rights were acquired and how,

 if applicable, those rights have been maintained. I have been the head of Copyright

 Administration at BMG since June 2013. Prior to that, I oversaw the copyright administration

 group at EMI Publishing.

        4.      I have knowledge of the information contained in this declaration through my

 position at BMG and my understanding of BMG’s acquisition of copyrighted works including

 through BMG’s past acquisitions of other entities and/or copyright catalogs, as well as other

 means by which BMG has acquired assets and my understanding of BMG’s business and

 business relationships. I also have familiarity with asset purchase agreements, publishing and




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 co-publishing agreements, exclusive administration agreements, and the U.S. Copyright Office

 copyright registration process. I have also reviewed the agreements referenced herein in

 connection with my role as the Vice President of Copyright Administration and in connection

 with making this declaration.

        5.      All of the copyrights in the BMG musical compositions identified in Appendices

 A1 through A102 of my declaration are registered with the U.S. Copyright Office and, as

 explained in detail below, are copyrights in which BMG has acquired an ownership interest or

 the sole and exclusive rights to administer their copyright interests, including the right to sue for

 their enforcement. The U.S. federally registered copyrights in this case, which are attached as

 Exhibits B1-B934, for which BMG has ownership and exclusive administration interests, are

 collectively referred to as the “BMG Copyrights.”

        6.      A number of the BMG Copyrights attached in exhibits B1-B934 are for albums,

 but do not list every musical composition embodied on the applicable album. The song titles of

 the musical compositions listed in Appendices A1-A102 have been verified via publicly

 available means, such as Amazon, as being included on the albums, and thus included in the

 registrations attached in Exhibits B1-B934.

        7.      My office is also responsible for monitoring and registering BMG’s ownership

 interest in copyrighted musical compositions with performing rights organizations (“PRO”) in

 the United States (e.g., ASCAP, BMI and SESAC). We make first-time registrations for newly

 written musical compositions in which BMG has an ownership/exclusive administration interest

 and notify the appropriate PRO when BMG has changed to the owner of record as a result of

 BMG’s having acquired an ownership interest in a musical composition previously registered.




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        8.      BMG’s ownership interest in the BMG Copyrights can be grouped into three

 primary categories: (1) those works in which BMG is a claimant on the certificate of registration

 itself; (2) those works acquired through BMG’s acquisition of the copyright claimant; and (3)

 those works in which BMG obtained an ownership interest in the copyrighted work from a

 copyright claimant either directly or through a transfer from another entity or entities.

   I.   COPYRIGHTS IN WHICH BMG IS A NAMED CLAIMANT

        9.      BMG is a claimant on the certificates of registration issued by the U.S. Copyright

 Office for the copyrighted works listed in Appendix A1-7 and A13. BMG registered certain of

 these copyrights using a fictitious d/b/a name. Music publishers will register copyrights using a

 fictitious d/b/a name for a variety of reasons including internal tracking of copyright assets, as

 well as to coordinate with PROs, to group registered works.

        10.     BMG used the following fictitious d/b/a names for its copyright registrations:

 BMG Chrysalis d/b/a BMG Sapphire Songs, BMG Sapphire, BMG Gold Songs, BMG Ruby

 Songs, BMG Platinum Songs, BMG Platinum Songs US, and Lava Lane Music LLC d/b/a BMG

 Rights Management.

        11.     The copyrighted works listing BMG Rights Management (US) LLC as a claimant

 are listed in Appendix A1. The copyrighted works where BMG Rights Management (US) LLC

 is a claimant using a fictitious d/b/a name are listed in Appendices A2-7 and A13.

        12.     The certified registrations for the copyrighted works in Appendices A1-7 and A13

 are attached hereto as Exhibits B1-B137, B391, and B934.

  II.   COPYRIGHTS IN WHICH BMG ACQUIRED ITS OWNERSHIP THROUGH
        THE ACQUISITION OF THE COPYRIGHT CLAIMANT

        13.     BMG acquired its rights to a number of the copyrighted works in this case by

 acquiring or merging with music publishers that were also the copyright claimants. These



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 acquisitions were of three main music publishing groups. They were Chrysalis, Bug Music and

 Cherry Lane.

    A. BMG Acquired the Assets of Chrysalis Music Publishing, LLC., Chrysalis Music
       Group, Inc., and Chrysalis Music Holdings, Inc.

        14.     Through BMG’s the mergers with Chrysalis Music Group, Inc. and Chrysalis

 Music Holdings, Inc. (collectively the “Chrysalis Mergers”), BMG acquired ownership rights in

 the copyrighted works listed in Appendices A8-A12.

        15.     Chrysalis Music Publishing, LLC merged into Chrysalis Music Group, Inc. on

 February 17, 2011. This is shown in the Agreement of Merger attached hereto as Exhibit 1. As

 a result, all of Chrysalis Music Publishing, LLC’s assets (including copyrights) became assets of

 Chrysalis Music Group, Inc.

        16.     Chrysalis Music Group, Inc. subsequently merged into BMG Rights Management

 (US) LLC on December 31, 2012. This is shown in the Certificate of Merger attached hereto as

 Exhibit 2. As a result, all of Chrysalis Music Group, Inc.’s assets (including copyrights) became

 assets of BMG.

        17.     Chrysalis Music Group Inc. used the fictitious d/b/a names Chrysalis Music

 Group and Chrysalis Songs to register copyrighted works.

        18.     Chrysalis Music Holdings, Inc. merged into BMG Rights Management (US) LLC

 on August 31, 2011. This is shown in the Certificate of Merger attached hereto as Exhibit 3. As

 a result, all of Chrysalis Music Holdings, Inc. copyright interests became assets of BMG.

        19.     Chrysalis Music Holdings, Inc. used the fictitious d/b/a name Chrysalis Music to

 register copyrighted works.

        20.     As a result of the Chrysalis Mergers, ownership interests in the copyrighted works

 in Appendices A8-A12, where Chrysalis Music Holdings, Inc., Chrysalis Music Group, Inc., or



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  Chrysalis Music Publishing, LLC are listed as copyright claimants, in their formal corporate

  name or fictitious d/b/a names, on registration certificates from the U.S. Copyright Office were

  transferred to BMG.

         21.     The certified registrations for the copyrighted works in Appendices A8-12 listing

  Chrysalis Music Publishing LLC and Chrysalis Music Group Inc., in their formal corporate name

  or one of their fictitious d/b/a names as a claimant are attached hereto as Exhibits B138-B390

  and B933.

     B. BMG Acquired the Assets of 315 Music LLC and Cherry Lane Music Publishing
        Company, Inc.

         22.     Through BMG’s mergers with 315 Music LLC and Cherry Lane Music

  Publishing Company, Inc. (“Cherry Lane”) (collectively the “Cherry Lane Mergers”), BMG

  acquired ownership rights in the copyrighted works listed in Appendices A14- A19.

         23.     315 Music LLC (a Delaware limited liability company) was dissolved and all of

  its assets were transferred to Cherry Lane Music Publishing Company, Inc. (a New York

  corporation) on May 28, 2010. This is shown in the Written Consent of the Sole Member To

  Company Action of 315 Music LLC, attached hereto as Exhibit 4. As a result, all of 315 Music

  LLC’s copyright interests became assets of Cherry Lane Music Publishing Company, Inc.

         24.     Subsequently, Cherry Lane Music Publishing Company, Inc. was merged into

  BMG Rights Management (US) LLC on December 31, 2011. This is shown in the Certificate of

  Merger, attached hereto as Exhibit 5. As a result, all of Cherry Lane’s copyright interests

  became assets of and directly owned by BMG.

         25.     Specific asset transfers of Cherry Lane to BMG are set forth in the Stock and

  Membership Interests Purchase Agreement between BMG, BMG RM Germany GMBH, and

  Milton T. Okun, Rosemary Okun, Andrew Okun, Jennifer Okun Sparks, Peter W. Primont and



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  Murray Frank dated March 25, 2010. This Stock and Membership Interest Purchase Agreement

  is attached hereto as Exhibit 6.

          26.    Cherry Lane Music Publishing Company, Inc. used the following fictitious d/b/a

  names to register copyrights: 1996 Music Lane Publishing, Cherry River, Cherry River Music,

  and Cherry River Music Co.

          27.    315 Music LLC used the fictitious d/b/a name Cherry 315 Publishing to register

  copyrighted works.

          28.    As a result of the Cherry Lane Mergers, BMG obtained ownership interests in the

  copyrighted works in Appendices A14 – A19, where 315 Music LLC or Cherry Lane Music

  Publishing Company, Inc., in their formal corporate name or their fictitious d/b/a names, are

  listed as copyright claimants on registration certificates from the U.S. Copyright Office.

          29.    The certified registrations for the copyrighted works in Appendices A14-19 listing

  315 Music LLC and Cherry Lane Music Publishing Company, Inc., in their formal corporate

  names or one of their fictitious d/b/a names, are attached hereto as Exhibits B392-B437 and

  B932.

     C. BMG Acquired Bug Holdings, Inc. and Bug Music Inc.

          30.    Through BMG’s mergers with Bug Holdings, Inc. and Bug Music Inc.

  (collectively the “Bug Music Mergers”), BMG acquired ownership rights in the copyrighted

  works listed in Appendices A20-A33 and A35-A36.

          31.    As set forth in the September 22, 2011 Agreement and Plan of Merger between

  BMG, Brugge Acquisition, Inc., and Bug Holdings, Inc., BMG purchased the stock of Bug

  Holdings, Inc. This Agreement and Plan of Merger and its schedule (collectively the “Bug

  Holdings Agreement”) are attached hereto as Exhibits 8 and 9, respectively. The Bug Holding

  Agreement set forth Bug Holdings, Inc.’s assets and its subsidiaries’ assets, including the assets


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  of Bug Music Inc., Hitco Music Publishing, LLC, and Windswept Holdings, LLC., and certain of

  Kara Dio Guardi’s assets. Through the Bug Holdings Agreement, Bug Holdings, Inc. became a

  subsidiary of BMG.

         32.     Subsequently, Bug Holdings, Inc. (a Delaware corporation) merged into BMG

  Rights Management (US) LLC on October 5, 2011. This is shown on the Certificate of Merger,

  attached hereto as Exhibit 7. As a result, all of Bug Holdings, Inc.’s assets became assets of

  BMG.

         33.     Subsequently, Hitco Music Publishing, LLC (a Delaware limited liability

  company) merged into Windswept Holdings, LLC (a California limited liability company) on

  December 31, 2011. This is shown in the Written Consent of the Sole Member of Windswept

  Holdings LLC, as attached hereto as Exhibit 10. As a result, all of Hitco Music Publishing,

  LLC’s assets became assets of Windswept Holdings, LLC.

         34.     Windswept Holdings, LLC (a Delaware limited liability company) merged into

  Bug Music, Inc. (a California limited liability company) on December 31, 2011. This is shown

  in the Agreement and Plan of Merger, as attached hereto as Exhibit 11. As a result, all of

  Windswept Holdings, LLC’s assets became assets of Bug Music, Inc.

         35.     Subsequently, on December 31, 2012, Bug Music, Inc. (a California corporation)

  was merged into BMG. This is shown in the Agreement and Plan of Merger, attached hereto as

  Exhibit 12. As a result, all of Bug Music Inc.’s assets became assets of BMG.

         36.     Bug Music Inc. used the following fictitious d/b/a names to register copyrighted

  works: Bug Music, Bughouse, and Trio Music Co., Inc.

         37.     Hitco Music Publishing LLC used the following fictitious d/b/a names to register

  copyrighted works: Hitco Music, Hitco Music Publishing d/b/a Hitco Music, and Hitco South.




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         38.     Windswept Holdings LLC used the following fictitious d/b/a names to register

  copyrighted works: Music of Windswept, Windswept Pacific, Songs of Windswept Pacific,

  Windswept Holdings, LLC d/b/a Music of Windswept, Windswept Holdings, LLC (d/b/a Pacific

  Wind Music), Windswept Holdings, LLC (d/b/a Songs of Windswept), and Windswept Music.

         39.     As a result of the Bug Music Mergers, BMG obtained ownership interests in the

  copyrighted works in Appendices A20-33 and A36, where Bug Music Inc., Hitco Music

  Publishing LLC, Windswept Holdings LLC, in their formal corporate name or one of their

  fictitious d/b/a names, are listed as copyright claimants on registration certificates from the U.S.

  Copyright Office.

         40.     The certified registrations for the copyrighted works in Appendices A20-33 and

  A36 listing Bug Music Inc., Hitco Music Publishing LLC, Windswept Holdings LLC, in their

  formal corporate name or one of their fictitious d/b/a names, as a claimant are attached hereto as

  Exhibits B438-B700 and B704.

         41.     Kara DioGuardi is listed as a claimant on the registration certificates issued by the

  U.S. Copyright Office for the copyrighted works listed in Appendix A35. The certified

  registration certificates for the copyrighted works in Appendix A35 listing Kara DioGuardi as

  the claimant are attached hereto as Exhibits B702-B703. As set forth in the Bug Holdings

  Agreement, ownership rights in the copyrighted works listed in Appendix A35 were transferred

  to BMG.

  III.   COPYRIGHTS WHERE BMG ACQUIRED ITS OWNERSHIP INTEREST
         FROM A CLAIMANT

         42.     BMG obtained an ownership interest in and/or an exclusive right to administer the

  copyrighted works listed in Appendices A37-A102 by virtue of an asset purchase agreement, a




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  songwriter agreement, a publishing agreement, a co-publishing agreement, and/or an exclusive

  administration agreement.

     A. BMG obtained the exclusive right to administer and exploit the Heavens Research
        copyrighted works listed in Appendix A37

         43.    Heavens Research is listed as a claimant on the registration certificates issued by

  the U.S. Copyright Office for the copyrighted works listed in Appendix A37. The certified

  copyright registrations for the copyrighted works in Appendix A37 are attached hereto as

  Exhibits B705-B706. As shown in Exhibit 13, Christopher Breaux (“Writer”) and Writer d/b/a

  FRESH Produce Music entered into an Exclusive Songwriter/Co-Publishing Agreement on

  December 17, 2008 with Bug Music, Inc. d/b/a Bug Music. By this agreement, Writer and

  Writer d/b/a FRESH Produce Music transferred the rights in the copyrighted works listed in

  Appendix A37 to Bug Music, Inc.

         44.    This Exclusive Songwriter/Co-Publishing Agreement was amended twice. In the

  first amendment (Exhibit 14), dated July 17, 2009, Christopher Breaux had established an entity

  named “Heavens Research” and he affiliated Heavens Research with Bug Music, Inc., and the

  parties made Heavens Research a party to the December 17, 2008 Exclusive Songwriter/Co-

  Publishing Agreement. This amendment did not affect the exclusive right to administer and

  exploit the copyrighted works listed in Appendix A37.

         45.    The aforementioned Bug Music Mergers then took place, whereby BMG obtained

  the exclusive right to administer and exploit the copyrighted works listed in Appendix

  A37. Shortly thereafter, the December 17, 2008 Exclusive Songwriter/Co-Publishing Agreement

  was amended a second time on February 13, 2013 (Exhibit 15) to modify the advances paid,

  deliveries and release commitments. This amendment did not affect the exclusive right to

  administer and exploit the copyrighted works listed in Appendix A37. The parties to this



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  amendment were BMG, as successor in interest to Bug Music, Inc. d/b/a Bug Music, Christopher

  Breaux p/k/a Frank Ocean and d/b/a Heaven’s Research.

     B. BMG obtained the exclusive right to administer and exploit the Mamma’s
        Cornbread Music copyrighted works listed in Appendix A38

         46.     Mammaw’s Cornbread Music is listed as a claimant on the registration certificate

  issued by the U.S. Copyright Office for the copyrighted work listed in Appendix A38. The

  certified copyright registration for the copyrighted work in Appendix A38 is attached hereto as

  Exhibit B707. As shown in Exhibit 16, Jeffrey Don Hyde p/k/a Jeff Hyde (“Writer”) and Writer

  d/b/a Mammaw’s Cornbread Music entered into an Exclusive Songwriter/Co-Publishing

  Agreement on December 24, 2009 with Bug Music, Inc. d/b/a Bug Music. By this agreement,

  Writer and Writer d/b/a Mammaw’s Cornbread Music, transferred the rights in the copyrighted

  works listed in Appendix A38 to Bug Music, Inc.

         47.     The aforementioned Bug Music Mergers then took place, whereby BMG obtained

  the exclusive right to administer and exploit the copyrighted works listed in Appendix

  A38. Shortly thereafter, the December 24, 2009 Exclusive Songwriter/Co-Publishing Agreement

  was amended on December 1, 2011 (Exhibit 17) to modify certain terms and the royalties

  paid. This amendment did not affect the exclusive right to administer and exploit the

  copyrighted works listed in Appendix A38. The parties to this amendment were BMG, as

  successor in interest to Bug Music, Inc. d/b/a Bug Music, Jeffrey Don Hyde p/k/a Jeff Hyde

  (“Writer”) and Writer d/b/a Mammaw’s Cornbread Music.

     C. BMG obtained the exclusive right to administer and exploit the Murrah Music
        Corp. copyrighted works listed in Appendix A39

         48.     Murrah Music Corp. is listed as a claimant on the registration certificates issued

  by the U.S. Copyright Office for the copyrighted works listed in Appendix A39. The certified

  copyright registrations for the copyrighted works in Appendix A39 are attached hereto as


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  Exhibits B708-B716. As shown in Exhibit 18, Murrah Music Corp. and Castle Street Music, Inc.

  entered into an Asset Purchase and Sale Agreement with Bug Music Inc. on February 18, 2009.

  By this agreement, Murrah Music Corp. and Castle Street Music, Inc. transferred the rights in the

  copyrighted works listed in Appendix A39 to Bug Music, Inc. Pursuant to the Asset Purchase,

  Murrah Music Corp. and Castle Street Music, Inc. transferred 33.33% of their interest in the

  copyrighted works listed in Appendix A39 to Bug Music, Inc. Pursuant to the Bug Music

  Mergers and this Asset Purchase and Sale Agreement, BMG has the exclusive right to administer

  and exploit the copyrighted works listed in Appendix A39.

     D. BMG obtained the exclusive right to administer and exploit the Amalfi Coast Music
        copyrighted works listed in Appendix A40

         49.    Amalfi Coast Music is listed as a claimant on the registration certificates issued

  by the U.S. Copyright Office for the copyrighted works listed in Appendix A40. The certified

  copyright registrations for the copyrighted works in Appendix A40 are attached hereto as

  Exhibits B717-B719. As shown in Exhibit 19, Sam Endicott and his music publishing company

  The Bravery Partnership, LLC d/b/a Amalfi Coast Music entered into an Exclusive

  Administration Agreement with Chrysalis Music Publishing, LLC, Chrysalis Music Group, Inc.

  d/b/a Chrysalis Music and Chrysalis Songs (collectively, “Chrysalis”) on May 22, 2007. By this

  agreement, Sam Endicott and Amalfi Coast Music transferred the rights in the copyrighted works

  listed in Appendix A40 to Chrysalis.

         50.    On December 16, 2008, the May 22, 2007 Exclusive Administration Agreement

  was amended to include an extended term provision (Exhibit 20). This amendment did not affect

  the exclusive right to administer and exploit the copyrighted works listed in Appendix A40.

         51.    The May 22, 2007 Exclusive Administration Agreement was amended again on




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  March 24, 2010 (Exhibit 20). In this amendment, the extended term provisions of the December

  16, 2008 amendment were modified to include a renewal period, and an advice of counsel

  provision was added. This amendment did not affect the exclusive right to administer and

  exploit the copyrighted works listed in Appendix A40. Pursuant to the Chrysalis Mergers and

  the Exclusive Administration Agreement, BMG has the exclusive right to administer and exploit

  the copyrighted works listed in Appendix A40.

     E. BMG obtained the exclusive right to administer and exploit the Boneidol Music
        copyrighted works listed in Appendix A41

         52.     Boneidol Music is listed as a claimant on the registration certificates issued by the

  U.S. Copyright Office for the copyrighted works listed in Appendix A41. The certified

  copyright registrations for the copyrighted works in Appendix A41 are attached hereto as

  Exhibits B720-B723. As shown in Exhibit 21, William Broad p/k/a Billy Idol entered into a Co-

  Publishing Agreement on October 11, 1993 with Chrysalis Music Group, Inc. (“Chrysalis”). This

  Co-Publishing Agreement references various prior agreements between Chrysalis and William

  Broad’s designee, Boneidol Music (see Exhibit 21, Section 1A), which were terminated upon the

  execution of the Co-Publishing Agreement on October 11, 1993. By this Co-Publishing

  Agreement, William Broad p/k/a Billy Idol transferred his rights in the copyrighted works,

  including the exclusive right to administer, listed in Appendix A41 to Chrysalis.

         53.     As shown in Exhibit 22, on October 23, 2012, William Broad p/k/a Billy Idol

  entered into an Asset Purchase Agreement with BMG, as successor in interest to Chrysalis. This

  Asset Purchase Agreement references the prior October 11, 1993 Co-Publishing Agreement as

  well as other prior agreements mentioned therein. Pursuant to the Chrysalis Mergers and these

  Asset Purchase and Co-Publishing Agreements, BMG has the exclusive right to administer and

  exploit the copyrighted works listed in Appendix A41.



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     F. BMG obtained the exclusive right to administer and exploit the Rare Blue Music
        Inc. copyrighted works listed in Appendix A42

         54.     Rare Blue Music Inc. is listed as a claimant on the registration certificates issued

  by the U.S. Copyright Office for the copyrighted works listed in Appendix A42. The certified

  copyright registrations for the copyrighted works in Appendix A42 are attached hereto as

  Exhibits B724-B733. As shown in Exhibit 23, Jimmy Mollica, Clement Bozeski, Chris Stein,

  and Ms. Deborah Harry entered into Songwriter’s and Composer’s Agreement on September 4,

  1977 with Chrysalis Records, Inc. By this agreement, Jimmy Mollica, Clement Bozeski, Chris

  Stein, and Ms. Deborah Harry transferred their rights, including the exclusive right to administer

  in the copyrighted works listed in Appendix A42 to Chrysalis Records, Inc.

         55.     As shown Exhibit 24, Deborah Harry, Christopher Stein, James Mollica, Nigel

  Harrison, and Frank Infante, who register their works under Rare Blue Music Inc., entered into a

  Co-Publishing Agreement with BMG, as a successor in interest to Chrysalis Records, Inc. on

  December 21, 2012. This Co-Publishing Agreement amends the prior September 4, 1997

  Songwriter’s and Composer’s Agreement as well as other agreement reference therein. Pursuant

  to the Chrysalis Mergers and these Exclusive Songwriter/Co-Publishing Agreements, BMG has

  the exclusive right to administer and exploit the copyrighted works listed in Appendix A42.

     G. BMG obtained the exclusive right to administer and exploit the “Rare Blue Music
        Inc. and Boneidol Music”copyrighted works listed in Appendix A43

         56.     Rare Blue Music Inc. and Boneidol Music are listed as a claimants on the

  registration certificates issued by the U.S. Copyright Office for the copyrighted works listed in

  Appendix A43. The certified copyright registrations for the copyrighted works in Appendix A43

  are attached hereto as Exhibits B734-B738. As shown in Exhibits 21-24, discussed above, Rare

  Blue Music Inc. and Boneidol Music transferred their rights in the copyrighted works listed in

  Appendix A43 to BMG and/or its predecessors in interest Chrysalis Records Inc. and Chrysalis


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  Music Group Inc. pursuant to the Chrysalis Mergers and the Exclusive Songwriter/Co-Publishing

  and Asset Purchase Agreements (Exhibits 6-9), BMG has the exclusive right to administer and

  exploit the copyrighted works listed in Appendix A43.

     H. BMG obtained the exclusive right to administer and exploit the GTR Hack Music
        copyrighted works listed in Appendix A44

         57.    GTR Hack Music is listed as a claimant on the registration certificates issued by

  the U.S. Copyright Office for the copyrighted works listed in Appendix A44. The certified

  copyright registrations for the copyrighted works in Appendix A44 are attached hereto as

  Exhibits B739-B740. As shown in Exhibit 25, John Lowery and his publishing designees

  including Gtr. Hack Music entered into an Exclusive Songwriter Agreement; Co-Publishing and

  Administration Agreement (“Exclusive Songwriter/Co-Publishing Agreement”) on July 22, 2002

  with Chrysalis Music Group, Inc. d/b/a Chrysalis Music and Chrysalis Songs (“Chrysalis”). By

  this agreement, wherein John Lowery a/k/a/ John 5 and GTR Hack Music transferred their rights

  in the copyrighted works listed in Appendix A44 to Chrysalis Music Group, Inc.

         58.    As shown in Exhibit 26, the July 22, 2002 Exclusive Songwriter/Co-Publishing

  Agreement was amended on July 23, 2004, which extended the term and modified the advances

  of the original Exclusive Songwriter/Co-Publishing Agreement. As also shown in Exhibit 11, the

  extended terms and advances were also amended again on March 18, 2005, November 15, 2005,

  and August 10, 2007. None of these amendments affected the exclusive right to administer and

  exploit the copyrighted works listed in Appendix A44. The July 22, 2002 Exclusive

  Songwriter/Co-Publishing Agreement was amended again on July 18, 2005 (Exhibit 26), which

  again extended the term and modified the advances of the original Exclusive Songwriter/Co-

  Publishing Agreement. This amendment did not affect the exclusive right to administer and

  exploit the copyrighted works listed in Appendix A44.



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         59.    As shown in Exhibit 27, John Lowery and his publishing companies including

  GTR Hack Music entered into an Exclusive Administration Agreement with Chrysalis Music

  Group, Inc., Chrysalis Music Publishing, LLC, Chrysalis Music, Chrysalis Songs, and Chrysalis

  Tunes on May 11, 2010. This May 11, 2010 Exclusive Administration Agreement states that this

  agreement supersedes a prior Exclusive Songwriter & Co-Publishing Agreement dated May 20,

  1997 between the same parties. By this May 11, 2010 Exclusive Administration Agreement,

  John Lowery and GTR Hack Music reaffirm the transfer of their rights in the copyrighted works

  listed in Appendix A44 to Chrysalis Music Group, Inc., Chrysalis Music Publishing, LLC,

  Chrysalis Music, Chrysalis Songs, and Chrysalis Tunes. Pursuant to the Chrysalis Mergers and

  these agreements, BMG has the exclusive right to administer and exploit the copyrighted works

  listed in Appendix A44.

     I. BMG obtained the exclusive right to administer and exploit the John Legend
        Publishing copyrighted works listed in Appendix A45

         60.    John Legend Publishing is listed as a claimant on the registration certificates

  issued by the U.S. Copyright Office for the copyrighted works listed in Appendix A45. The

  certified copyright registrations for the copyrighted works in Appendix A45 are attached hereto

  as Exhibits B741-B763. As shown in Exhibit 28, John Stephens p/k/a John Legend and Legend

  Music, Inc. entered into an Exclusive Administration Agreement on May 15, 2009 with Cherry

  Lane Music Publishing Company, Inc. By this agreement, John Stephens p/k/a John Legend and

  Legend Music, Inc. transferred their rights in the copyrighted works listed in Appendix A45 to

  Cherry Lane Music Publishing Company, Inc.

         61.    The aforementioned Cherry Lane Mergers then took place, whereby BMG

  obtained the exclusive right to administer and exploit the copyrighted works listed in Appendix

  A45. Consistent with the Cherry Lane Mergers, as shown in Exhibit 29, John Legend Music,



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  Inc., which registers its works under John Legend Publishing, entered into an exclusive Music

  Publishing Administration Agreement with BMG on August 30, 2013. This exclusive Music

  Publishing Administration Agreement references the prior agreement that John Legend Music,

  Inc. entered into with Cherry Lane Music Publishing Company, Inc., which is attached hereto as

  Exhibit 15 and discussed above.

     J. BMG obtained ownership rights and the exclusive right to administer and exploit
        the Will I Am Music and Will.I.Am Music, Inc. copyrighted works listed in
        Appendices A46 and A47

         62.     Will I Am Music is listed as a claimant on the registration certificates issued by

  the U.S. Copyright Office for the copyrighted works listed in Appendix A46. The certified

  copyright registrations for the copyrighted works in Appendix A15 are attached hereto as

  Exhibits B764-B768, B930, and B931. Will I Am Music is a fictitious d/b/a name used by

  i.am.composing, llc. As shown in Exhibit 30, on September 1, 2003, i.am.composing, llc.

  entered into an agreement with Cherry Lane Music Publishing Company, Inc. (“Cherry Lane”)

  wherein i.am.composing, llc transferred and assigned to Cherry Lane the sole and exclusive right

  to administer and exploit, including license, lease, distribute, etc., his copyrights, including the

  copyrighted works in Appendix A46. On June 30, 2011, as shown in Exhibit 31, Will Adams, as

  the sole Member and Manager of i.am.composing, llc. amended the September 1, 2003

  agreement to assign any rights or obligations of Will Adams to i.am.composing, llc. This

  agreement did not modify any of the assigned ownership rights to the copyrighted works in

  Appendix A46.

         63.     As shown on Exhibit 32, on July 1, 2011 i.am.composing, llc entered into an

  agreement with BMG directly wherein i.am.composing, llc transferred and assigned to BMG (a)

  an undivided 50% interest in the entire right, title and interest throughout the world in its

  copyrights, including the works listed on Appendix A46, and additionally (b) the sole and


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  exclusive right to administer the remaining 50% interest of i.am.comping, llc’s copyrights. As

  shown in Exhibit 33, on October 21, 2013 i.am.composing, llc and BMG amended the July 1,

  2011 agreement by extending the term and amending some other sections but did not alter the

  copyright transfers and assignments to BMG. As a result of these agreements, BMG obtained a

  50% ownership interest in the entire copyright interest in the copyrighted works listed in

  Appendix A46, and the exclusive administration right as to the remaining 50% ownership

  interest in the copyrighted works in Appendix A46.

         64.     Will.I.Am Music, Inc. is listed as a claimant on the registration certificates issued

  by the U.S. Copyright Office for the copyrighted works listed in Appendix A47. The certified

  copyright registrations for the copyrighted works in Appendix A47 are attached hereto as

  Exhibits B769-B800. Will.I.Am Music, Inc. is a fictitious d/b/a name used by i.am.composing,

  llc. Pursuant to the Cherry Lane Mergers and these Assignment and Co-Publishing Agreements,

  BMG has the exclusive right to administer and exploit the copyrighted works listed in Appendix

  A47.

     K. BMG obtained the exclusive right to administer and exploit the Quincy Jones (d/b/a
        Yellow Brick Road Music) (d/b/a Rashida Music) and (d/b/a State of the Arts
        Music) copyrighted works listed in Appendices A48-A50

         65.     Quincy Jones (d/b/a Yellow Brick Road Music) is listed as a claimant on the

  registration certificates issued by the U.S. Copyright Office for the copyrighted works listed in

  Appendix A48. The certified copyright registrations for the copyrighted works in Appendix A48

  are attached hereto as Exhibits B801-B803. Quincy Jones (d.b.a. Rashida Music) is listed as a

  claimant on the registration certificate issued by the U.S. Copyright Office for the copyrighted

  work listed in Appendix A48. The certified copyright registration for the copyrighted work in

  Appendix A49 is attached hereto as Exhibit B804. Quincy Jones (d.b.a. State of the Arts Music)




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  is listed as a claimant on the registration certificate issued by the U.S. Copyright Office for the

  copyrighted work listed in Appendix A50.

         66.     Yellow Brick Road Music, Rashida Music, and State of the Arts Music are

  fictitious d/b/a names used by Quincy Jones to register works. On October 16, 2006, Quincy

  Jones entered into an exclusive administration agreement with Cherry Lane Music Publishing

  Company, Inc., as shown in Exhibit 34. This agreement gave Cherry Lane Music Publishing

  Company, Inc. the sole and exclusive right administer, license, and commercially exploit the

  copyrighted works in any manner, including the right to bring, pursue and collect on all claims

  and causes of action relating to the copyrighted works that were owned or controlled by Quincy

  Jones. The copyrighted works included in this agreement are those listed in Appendices A48-

  A50.

         67.     On January 1, 2010, Quincy Jones and Cherry Lane Music Publishing Company,

  Inc. amended the October 16, 2006 agreement to extend the term of the agreement and amended

  other terms of the agreement, as shown in Exhibit 35. None of the rights to the copyrighted

  works listed in Appendices A48-A50 were affected. On November 30, 2012, BMG, as a

  successor-in-interest to Cherry Lane Music Publishing Company, Inc. and Quincy Jones

  amended the October 16, 2006 agreement a second time, as shown in Exhibit 36. This second

  amendment extended the term of the agreement and modified other terms. None of the rights to

  the copyrighted works listed in Appendices A48-A50 were affected. Pursuant to the Cherry

  Lane Mergers and these Exclusive Administration Agreements, BMG has the exclusive right to

  administer and exploit the copyrighted works listed in Appendices A48-50.




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     L. BMG obtained the exclusive right to administer and exploit the Buzzard Rock
        Music copyrighted works listed in Appendix A51

         68.     Buzzard Rock Music is listed as a claimant on the registration certificate issued

  by the U.S. Copyright Office for the copyrighted work listed in Appendix A51. The certified

  copyright registration for the copyrighted work in Appendix A51 is attached hereto as Exhibit

  B806. As shown in Exhibit 37, on June 19, 2008 Warren Haynes, who registers his works under

  the name “Buzzard Rock Music”, and Cherry Lane Music Publishing Company, Inc. (“Cherry

  Lane”) entered into administration agreement wherein Haynes transferred and assigned to Cherry

  Lane during the term an ownership interest in, including the sole and exclusive right to

  administer, exploit, license, lease, perform, duplicate, certain copyrighted musical compositions,

  including those listed in Appendix A51. As shown in Exhibit 38, on May 2, 2012, Haynes

  entered into an Extension Agreement directly with BMG (as Cherry Lane’s successor-in-interest)

  extending term, among other modifications, the June 19, 2008 agreement. Pursuant to the

  Cherry Lane Mergers, the assets of Cherry Lane were transferred to BMG giving it an ownership

  interest in, including the exclusive right to administer and exploit, the copyrights in the musical

  compositions listed in Appendix A51.

     M. BMG obtained the exclusive right to administer and exploit the Barland Music
        copyrighted works listed in Appendix A52

         69.     Barland Music is listed as a claimant on the registration certificate issued by the

  U.S. Copyright Office for the copyrighted work listed in Appendix A52. The certified copyright

  registration for the copyrighted work in Appendix A52 is attached hereto as Exhibits B807. As

  shown in Exhibit 39, on October 1, 2007 David Ryan Adams, doing business as Barland Music,

  entered into an Exclusive Administration Agreement with Bug Music, Inc. wherein Adams

  transferred and assigned to Bug Music, Inc. an ownership interest in, including the sole and

  exclusive right to administer and exploit, print, publish, sell, use and license the performance and


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  use of the compositions throughout the world, license for mechanical reproduction, public

  performance and synchronization uses and to assign in the normal course of business or license

  all such rights to third parties, certain copyrighted musical compositions, including that listed in

  Appendix A52. As shown in Exhibit 40, on February 26, 2013 Adams and BMG (as Bug Music,

  Inc.’s successor-in-interest) signed an amendment to the October 1, 2007 agreement extending

  its term, among other things, but such amendment did not change BMG’s exclusive

  administration rights in the copyrighted work listed in Appendix A52. Pursuant to the Bug

  Music Mergers, the assets of Bug Music, Inc. were transferred to BMG giving it an ownership

  interest in, including the exclusive right to administer and exploit, the copyright in the musical

  composition listed in Appendix A52.

     N. BMG obtained the exclusive right to administer and exploit the Flying Earform
        Music copyrighted works listed in Appendix A53

         70.     Flying Earform Music is listed as a claimant on the registration certificates issued

  by the U.S. Copyright Office for the copyrighted works listed in Appendix A53. The certified

  copyright registrations for the copyrighted works in Appendix A53 are attached hereto as

  Exhibits B808-B811. As shown in Exhibit 41, on August 9, 2005 Nate Mendel, doing business

  as Flying Earform Music, entered into an Administration Agreement with Bug Music, Inc.

  wherein Mendel transferred and assigned to Bug Music, Inc. an ownership interest in, including

  the sole and exclusive right to administer and exploit, print, publish, sell, use and license the

  performance and use of the compositions throughout the world, license for mechanical

  reproduction, public performance and synchronization uses and to assign in the normal course of

  business or license all such rights to third parties, certain copyrighted musical compositions,

  including that listed in Appendix A53.




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         71.     As shown in Exhibit 42, on September 28, 2007 Mendel (d/b/a Flying Earform

  Music) entered into another administration agreement with Bug Music, Inc. wherein Mendel

  transferred and assigned to Bug Music, Inc. an ownership interest in, including the sole and

  exclusive right to administer and exploit, print, publish, sell, use and license the performance and

  use of the compositions throughout the world, license for mechanical reproduction, public

  performance and synchronization uses and to assign in the normal course of business or license

  all such rights to third parties, certain copyrighted musical compositions, including that listed in

  Appendix A53.

         72.     As shown in Exhibit 43, on October 6, 2009 Mendel and Bug Music, Inc. signed

  an amendment to the September 28, 2007 exclusive administration agreement adding two

  compositions to the agreement. As shown in Exhibit 44, on June 1, 2011 Mendel and Bug

  Music, Inc. signed another amendment to the September 28, 2007 agreement. Neither

  amendment affected Bug Music, Inc.’s exclusive administration rights in the compositions,

  including those listed in Appendix A53. Pursuant to the Bug Music Mergers, the assets of Bug

  Music, Inc. were transferred to BMG giving it an ownership interest in, including the exclusive

  right to administer and exploit, the copyright in the musical composition listed in Appendix A53.

     O. BMG obtained the exclusive right to administer and exploit the Good Clean Dirt
        copyrighted works listed in Appendix A54

         73.     Good Clean Dirt is listed as a claimant on the registration certificate issued by the

  U.S. Copyright Office for the copyrighted works listed in Appendix A54. The certified

  copyright registration for the copyrighted works in Appendix A54 are attached hereto as Exhibits

  B812. As shown in in Exhibit 45, on August 10, 1995 John Convertino, doing business as Good

  Clean Dirt, entered into an Administration Agreement with Bug Music, Inc. wherein Convertino

  transferred and assigned to Bug Music, Inc. an ownership interest in, including the sole and



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  exclusive right to administer and exploit, print, publish, sell, use and license the performance and

  use of the compositions throughout the world, license for mechanical reproduction, public

  performance and synchronization uses and to assign in the normal course of business or license

  all such rights to third parties, certain copyrighted musical compositions, including that listed in

  Appendix A54. Pursuant to the Bug Music Mergers, the assets of Bug Music, Inc. were

  transferred to BMG giving it an ownership interest in, including the exclusive right to administer

  and exploit, the copyright in the musical composition listed in Appendix A54.

     P. BMG obtained the exclusive right to administer and exploit the King Arnold Songs
        copyrighted works listed in Appendix A55

         74.     King Arnold Songs is listed as a claimant on the registration certificate issued by

  the U.S. Copyright Office for the copyrighted work listed in Appendix A55. The certified

  copyright registration for the copyrighted work in Appendix A55 is attached hereto as Exhibit

  B813. As shown in in Exhibit 46, on May 18, 2001, Gerald Clinton Hopson (p/k/a “J.C.

  Hopkins”), doing business as King Arnold Songs, entered into an Administration Agreement

  with Bug Music, Inc. wherein Hopson transferred and assigned to Bug Music, Inc. an ownership

  interest in, including the sole and exclusive right to administer and exploit, print, publish, sell,

  use and license the performance and use of the compositions throughout the world, license for

  mechanical reproduction, public performance and synchronization uses and to assign in the

  normal course of business or license all such rights to third parties, certain copyrighted musical

  compositions, including that listed in Appendix A55.

         75.     As shown in Exhibit 47, on August 18, 2008 Hopson, as the sole owner of the

  fictitious business entity King Arnold Songs, sold, transferred and assigned an undivided 100%

  interest in and to all of Hopson’s right, title and ownership interest in and to a certain

  copyrighted musical composition identified in Appendix A55. As shown in Exhibit 48, on



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  February 6, 2013, Hopson and BMG (as Bug Music, Inc.’s successor-in-interest) amended the

  May 18, 2001 administration agreement, but such amendment did not affect Bug Music, Inc.’s

  ownership interest in the copyright in the musical composition identified in Appendix A55.

  Pursuant to the Bug Music Mergers, the assets of Bug Music, Inc. were transferred to BMG

  giving it an ownership interest in, including the exclusive right to administer and exploit, the

  copyright in the musical composition listed in Appendix A55.

     Q. BMG obtained the exclusive right to administer and exploit the Lunda Bay and
        Lunada Music copyrighted works listed in Appendices A56 and A57

         76.     Lunada Bay is listed as a claimant on the registration certificate issued by the U.S.

  Copyright Office for the copyrighted work listed in Appendix A56. The certified copyright

  registration for the copyrighted work in Appendix A56 is attached hereto as Exhibits B814. As

  shown in in Exhibit 49, on April 25, 1995 Joey Burns doing business as Lunada Bay entered into

  an Administration Agreement with Bug Music, Inc. wherein Burns transferred and assigned to

  Bug Music, Inc. an ownership interest in, including the sole and exclusive right to administer and

  exploit, print, publish, sell, use and license the performance and use of the compositions

  throughout the world, license for mechanical reproduction, public performance and

  synchronization uses and to assign in the normal course of business or license all such rights to

  third parties, certain copyrighted musical compositions, including those listed in Appendix A56.

  Pursuant to the Bug Music Mergers, the assets of Bug Music, Inc. were transferred to BMG

  giving it an ownership interest in, including the exclusive right to administer and exploit, the

  copyrights in the musical compositions listed in Appendix A56.

         77.     Lunada Music (a d/b/a of Joey Burns) is listed as a claimant on the registration

  certificate issued by the U.S. Copyright Office for the copyrighted work listed in Appendix A57.

  The certified copyright registration for the copyrighted work in Appendix A57 is attached hereto



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  as Exhibit B815. As shown in in Exhibit 49, on April 25, 1995 Joey Burns doing business as

  Lunada Bay entered into an Administration Agreement with Bug Music, Inc. wherein Burns

  transferred and assigned to Bug Music, Inc. an ownership interest in, including the sole and

  exclusive right to administer and exploit, print, publish, sell, use and license the performance and

  use of the compositions throughout the world, license for mechanical reproduction, public

  performance and synchronization uses and to assign in the normal course of business or license

  all such rights to third parties, certain copyrighted musical compositions, including those listed in

  Appendix A57. Pursuant to the Bug Music Mergers, the assets of Bug Music, Inc. were

  transferred to BMG giving it an ownership interest in, including the exclusive right to administer

  and exploit, the copyrights in the musical compositions listed in Appendix A57.

     R. BMG obtained the exclusive right to administer and exploit the McFearless Music
        copyrighted works listed in Appendix A58

         78.     McFearless Music is listed as a claimant on the registration certificates issued by

  the U.S. Copyright Office for the copyrighted works listed in Appendix A58. The certified

  copyright registrations for the copyrighted works in Appendix A58 are attached hereto as

  Exhibits B816-B817. As shown in in Exhibit 50, on August 28, 2007, Jared Followill, Matthew

  Followill, Nathan Followill and Caleb Followill (together p/k/a Kings of Leon) doing business as

  Silent But Violent or any other designated publishing company name, entered into an

  Administration Agreement with Bug Music, Inc., wherein Jared Followill, Matthew Followill,

  Nathan Followill and Caleb Followill transferred and assigned to Bug Music, Inc. an ownership

  interest in, including the sole and exclusive right to administer and exploit, print, publish, sell,

  use and license the performance and use of the compositions throughout the world, license for

  mechanical reproduction, public performance and synchronization uses and to assign in the




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  normal course of business or license all such rights to third parties, certain copyrighted musical

  compositions, including those listed in Appendix A58.

         79.     McFearless Music is one of the Followill’s designated “doing business as”

  publishing company names. As shown in Exhibit 51, on October 25, 2013, the Followills and

  BMG (as Bug Music, Inc.’s successor-in-interest) amended the August 28, 2007 agreement, but

  such amendment did not change BMG’s rights in the copyrights listed in Appendix A58.

  Pursuant to the Bug Music Mergers, the assets of Bug Music, Inc. were transferred to BMG

  giving it an ownership interest in, including the exclusive right to administer and exploit, the

  copyrights in the musical compositions listed in Appendix A58.

     S. BMG obtained the exclusive right to administer and exploit the Mechanical Panther
        copyrighted works listed in Appendix A59

         80.     Mechanical Panther Music is listed as a claimant on the registration certificates

  issued by the U.S. Copyright Office for the copyrighted works listed in Appendix A59. The

  certified copyright registrations for the copyrighted works in Appendix A59 are attached hereto

  as Exhibits B818-B819. As shown in in Exhibit 52, on March 12, 2004, Eric Nelson Pressly,

  doing business as Mechanical Panther Music, entered into an Administration Agreement with

  Bug Music, Inc. wherein Pressly transferred and assigned to Bug Music, Inc. an ownership

  interest in, including the sole and exclusive right to administer and exploit, print, publish, sell,

  use and license the performance and use of the compositions throughout the world, license for

  mechanical reproduction, public performance and synchronization uses and to assign in the

  normal course of business or license all such rights to third parties, certain copyrighted musical

  compositions, including those listed in Appendix A59. Pursuant to the Bug Music Mergers, the

  assets of Bug Music, Inc. were transferred to BMG giving it an ownership interest in, including




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  the exclusive right to administer and exploit, the copyrights in the musical compositions listed in

  Appendix A59.

     T. BMG obtained ownership rights in the Shakur Al Din copyrighted works listed in
        Appendix A60

         81.     Shakur Al Din Music Publishing is listed as a claimant on the registration

  certificate issued by the U.S. Copyright Office for the copyrighted work listed in Appendix A60.

  The certified copyright registration for the copyrighted work in Appendix A60 is attached hereto

  as Exhibit B820. As shown in Exhibit 53, on June 1, 1999, Dwight Grant p/k/a “Beanie Sigel”

  and doing business as Shakur Al Din Music entered into an Exclusive Songwriter

  Agreement/Co-Publishing and Exclusive Administration Agreement with Hitco Music

  Publishing Co. (d/b/a Hitco South) (“Hitco”) wherein Grant transferred and conveyed to Hitco

  the entire right, title and interest in the copyrights to certain musical compositions, including that

  listed in Appendix A60. Grant also transferred to Hitco in this agreement the sole and exclusive

  right to administer, exploit, reproduce, perform, and license the copyright to certain musical

  compositions, including that listed in Appendix A60. As shown in Exhibit 54, on July 29, 2005,

  Grant and Hitco amended the June 1, 1999 agreement, but such amendment did not affect

  Grant’s transfer and assignment of an ownership interest in the copyright to the musical

  composition listed in Appendix A60. Pursuant to the Bug Music Mergers, the assets of Bug

  Music, Inc. were transferred to BMG giving it an ownership interest in, including the exclusive

  right to administer and exploit, the copyrights in the musical compositions listed in Appendix

  A60.

     U. BMG obtained ownership rights in the Spaceway Music copyrighted works listed in
        Appendix A61

         82.     Spaceway Music is listed as a claimant on the registration certificate issued by the

  U.S. Copyright Office for the copyrighted work listed in Appendix A61. The certified copyright


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  registration for the copyrighted work in Appendix A61 is attached hereto as Exhibit B21. As

  shown in Exhibit 55, on November 15, 2011, William Barry Hunt d/b/a Spaceway Music entered

  into a Publishing Agreement with Bug Music, Inc. wherein Hunt transferred and assigned to Bug

  Music, Inc. during the term of the agreement a one and one hundredth percent (1.01%)

  ownership interest in Hunt’s retained ownership share in each composition under the agreement,

  including that identified in Appendix A61. In this agreement Hunt also transferred and assigned

  to Bug Music, Inc. ownership interest in, including the sole and exclusive right to administer and

  exploit throughout the word, print, publish, sell, use and license the public performance,

  mechanical reproduction and synchronization uses, certain copyrighted musical compositions,

  including those listed in Appendix A61. Pursuant to the Bug Music Mergers, the assets of Bug

  Music, Inc. were transferred to BMG giving it an ownership interest in, including the exclusive

  right to administer and exploit, the copyrights in the musical compositions listed in Appendix

  A61.

     V. BMG obtained the exclusive right to administer and exploit the Them Young Boys
        Music copyrighted works listed in Appendix A62

         83.     Them Young Boys Music is listed as a claimant on the registration certificate

  issued by the U.S. Copyright Office for the copyrighted works listed in Appendix A62. The

  certified copyright registration for the copyrighted works in Appendix A62 is attached hereto as

  Exhibit B822. As shown in Exhibit 56, on January 27, 1997, Richard Oren Young and Frederick

  Kirby Young, doing business as Them Young Boys Music, entered into an Exclusive

  Administration Agreement with Bug Music, Inc. wherein Young and Frederick transferred and

  assigned to Bug Music, Inc. an ownership interest in, including the sole and exclusive right to

  administer and exploit, print, publish, sell, use and license the performance and use of the

  compositions throughout the world, license for mechanical reproduction, public performance and



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  synchronization uses and to assign in the normal course of business or license all such rights to

  third parties, certain copyrighted musical compositions, including those listed in Appendix

  A62. Pursuant to the Bug Music Mergers, the assets of Bug Music, Inc. were transferred to

  BMG giving it an ownership interest in, including the exclusive right to administer and exploit,

  the copyrights in the musical compositions listed in Appendix A62.

     W. BMG obtained the exclusive right to administer and exploit the Val Jester Music
        copyrighted works listed in Appendix A63

         84.     Val Jester Music is listed as a claimant on the registration certificates issued by

  the U.S. Copyright Office for the copyrighted works listed in Appendix A63. The certified

  copyright registrations for the copyrighted works in Appendix A63 are attached hereto as

  Exhibits B823-B825. As shown in Exhibit 57, on June 13, 2006 The National, LLC f/s/o

  Matthew D. Berninger (d/b/a Val Jester Music) and other parties entered into an Exclusive

  Administration Agreement with Bug Music, Inc. wherein The National, LLC transferred and

  assigned to Bug Music, Inc. an ownership interest in, including the sole and exclusive right to

  administer and exploit, print, publish, sell, use and license the performance and use of the

  compositions, license for mechanical reproduction, public performance and synchronization uses

  and to assign in the normal course of business or license all such rights to third parties, certain

  copyrighted musical compositions, including those listed in Appendix A63. Pursuant to the Bug

  Music Mergers, the assets of Bug Music, Inc. were transferred to BMG giving it an ownership

  interest in, including the exclusive right to administer and exploit, the copyrights in the musical

  compositions listed in Appendix A63.

     X. BMG obtained the exclusive right to administer and exploit the RuthenSmear Music
        copyrighted works listed in Appendix A64

         85.     RuthenSmear Music is listed as a claimant on the registration certificates issued

  by the U.S. Copyright Office for the copyrighted works listed in Appendix A64. The certified


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  copyright registration for the copyrighted work in Appendix A64 is attached hereto as Exhibit

  B826. As shown in Exhibit 58, on July 18, 2011 Georg Ruthenberg p/k/a Pat Smear a/k/a Pat

  Ruthensmear, doing business as RuthenSmear Music entered into an administration agreement

  with BMG wherein Ruthenberg transferred and assigned to Bug Music, Inc. an ownership

  interest in, including the sole and exclusive right to administer and exploit, print, publish, collect

  on, sell, use and license the performance and use of the compositions, license for mechanical

  reproduction, public performance and synchronization uses and to assign in the normal course of

  business or license all such rights to third parties, certain copyrighted musical compositions,

  including those listed in Appendix A64. As shown in Exhibit 59, on April 29, 2013 Georg

  Ruthenberg p/k/a Pat Smear a/k/a Pat RuthenSmear doing business as RuthenSmear Music

  amended the July 18, 2011 agreement when it signed an amendment with BMG directly

  (successor-in-interest to Bug Music, Inc. as a result of the Bug Mergers), but the amendment did

  not alter the rights in the composition listed in Appendix A64. Pursuant to the Bug Music

  Mergers, the assets of Bug Music, Inc. were transferred to BMG giving it an ownership interest

  in, including the exclusive right to administer and exploit, the copyrighted work listed in

  Appendix A64.

     Y. BMG obtained an ownership interest in the Alkaline Trio copyrighted works listed
        in Appendix A65

         86.     Alkaline Trio is listed as a claimant on the registration certificate issued by the

  U.S. Copyright Office for the copyrighted work listed in Appendix A65. The certified copyright

  registration for the copyrighted work in Appendix A65 is attached hereto as Exhibits B827. As

  shown in Exhibit 60, on October 19, 2012, Matt Skiba, Dan Andriano, and Derek Grant, p/k/a

  “Alkaline Trio” entered into an Co-Publishing Agreement with BMG. This agreement

  transferred, assigned and conveyed to BMG an undivided 50% interest in the entire right, title



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  and interest throughout the world in certain musical compositions, including that in Appendix

  A65. The agreement also transferred BMG an ownership interest in, including the exclusive

  right to administer, exploit, and license, certain copyrights, the remaining 50% interest in certain

  copyrighted musical compositions, including those listed in Appendix A65.

     Z. BMG obtained the exclusive right to administer and exploit the Big Deal Music
        copyrighted works listed in Appendix A66

         87.     Big Deal Music is listed as a claimant on the registration certificates issued by the

  U.S. Copyright Office for the copyrighted works listed in Appendix A66. The certified

  copyright registrations for the copyrighted works in Appendix A66 are attached hereto as

  Exhibits B828-B830. Big Deal Music is a d/b/a of Big Deal Music, LLC. As shown in Exhibit

  61, on December 12, 2012, Big Deal Music, LLC entered into an administration agreement with

  BMG that transferred to BMG an ownership interest in, including the sole and exclusive right to

  administer and exploit, reproduce, license, perform and a right to all claims and causes of action

  accrued before and during the term, the copyrighted works listed in Appendix A66.

         AA.     BMG obtained the exclusive right to administer and exploit the C’est Music
                 copyrighted works listed in Appendix A67

         88.     C’est Music is listed as a claimant on the registration certificates of the

  copyrighted works listed in Appendix A67. The certified copyright registrations for the

  copyrighted works in Appendix A56 are attached hereto as Exhibits B831-B832. As shown in

  Exhibit 62, on March 11, 2011, Carly Simon d/b/a C’Est Music entered into an administration

  agreement with BMG that transferred to BMG an ownership interest in, including the sole and

  exclusive right to administer and exploit, reproduce, license, perform and a right to all claims and

  causes of action accrued before and during the term, the copyrighted works listed in Appendix

  A67.




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         BB.     BMG obtained the exclusive right to administer and exploit the Castle Street
                 Music copyrighted works listed in Appendix A68

         89.     Castle Street Music is listed as a claimant on the registration certificate of the

  copyrighted work listed in Appendix A68. Castle Street Music is a d/b/a of Castle Street Music,

  Inc. The certified copyright registration for the copyrighted work in Appendix A68 is attached

  hereto as Exhibit B833. As shown in Exhibit 18, on February 18, 2009, Murrah Music

  Corporation and Castle Street Music, Inc. entered into an Asset Purchase and Sale Agreement

  with Bug Music, Inc. wherein Bug Music, Inc. acquired all of the seller’s interest in certain

  assets, specifically including the seller’s ownership interest in the copyright to the musical

  composition listed on Appendix A68. Pursuant to the Bug Music Mergers, the assets of Bug

  Music, Inc. were transferred to BMG giving it an ownership interest in the copyrighted work

  listed in Appendix A68.

     CC.         BMG obtained the exclusive right to administer and exploit the Chris
                 Cornell copyrighted works listed in Appendix A69

         90.     Chris Cornell is listed as a claimant on the registration certificates of the

  copyrighted works listed in Appendix A69. The certified copyright registrations for the

  copyrighted works in Appendix A69 are attached hereto as Exhibits B834-B838. As shown in

  Exhibit 63, on December 1, 2012, Chris J. Cornell entered into an administration agreement with

  BMG that transferred to it an ownership interest in, including but not limited to the sole and

  exclusive right to administer, exploit, promote, copy, print, publish, sell and issue copies to the

  public in any form and by any means whatsoever and to print, publish and sell sheet music,

  broadcast, grant worldwide perpetual licenses in, perform, make adaptations and arrangements

  of, to alter, reproduce in any manner or form, and the right to exercise all other rights of

  whatsoever nature in and to, the copyrighted compositions listed in Appendix A69.




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     DD.         BMG obtained the exclusive right to administer and exploit the Walpurgis
                 Night Music & In One Ear and Out Your Mother Music copyrighted works
                 listed in Appendix A70

         91.     Walpurgis Night Music & In One Ear and Out Your Mother Music is listed as a

  claimant on the registration certificate issued by the U.S. Copyright Office for the copyrighted

  works listed in Appendix A70. The certified copyright registration for the copyrighted work in

  Appendix A70 is attached hereto as Exhibit B839. As shown in Exhibit 63, on December 1,

  2012, Chris J. Cornell (d/b/a Walpurgis Night Music) and Kim A. Thayil (d/b/a/ In One Ear and

  Out Your Mother) entered into an administration agreement with BMG that transferred to it an

  ownership interest in, including but not limited to the sole and exclusive right to administer,

  exploit, promote, copy, print, publish, sell and issue copies to the public in any form and by any

  means whatsoever and to print, publish and sell sheet music, broadcast, grant worldwide

  perpetual licenses in, perform, make adaptations and arrangements of, to alter, reproduce in any

  manner or form, and the right to exercise all other rights of whatsoever nature in and to, the

  copyrighted composition listed in Appendix A70.

     EE.         BMG obtained the exclusive right to administer and exploit the You Make
                 Me Sick I Make Music copyrighted works listed in Appendix A71

         92.     You Make Me Sick I Make Music is listed as a claimant on the registration

  certificates issued by the U.S. Copyright Office for the copyrighted works listed in Appendix

  A71. The certified copyright registrations for the copyrighted works in Appendix A71 are

  attached hereto as Exhibits B840-B865. As shown in Exhibit 63, on December 1, 2012, Chris J.

  Cornell (d/b/a You Make Me Sick I Make Music) entered into an administration agreement with

  BMG that transferred to it an ownership interest in, including but not limited to the sole and

  exclusive right to administer, exploit, promote, copy, print, publish, sell and issue copies to the

  public in any form and by any means whatsoever and to print, publish and sell sheet music,



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  broadcast, grant worldwide perpetual licenses in, perform, make adaptations and arrangements

  of, to alter, reproduce in any manner or form, and the right to exercise all other rights of

  whatsoever nature in and to, the copyrighted compositions listed in Appendix A71.

     FF.         BMG obtained the exclusive right to administer and exploit the Cold and
                 Grey Publishing copyrighted work listed in Appendix A72

           93.   Cold and Grey Publishing is listed as a claimant on the registration certificate

  issued by the U.S. Copyright Office for the copyrighted work listed in Appendix A72. The

  certified copyright registration for the copyrighted work in Appendix A72 is attached hereto as

  Exhibit B866. As shown in Exhibits 64, on March 9, 2005, John LeCompt, doing business as

  Cold and Grey Publishing, entered into an administration agreement with Bug Music, Inc.

  wherein LeCompt transferred and assigned to Bug Music, Inc. an ownership interest in,

  including the sole and exclusive right to administer and exploit, print, publish, sell, use and

  license for mechanical reproduction, public performance and synchronization uses and to assign

  to third parties in the normal course of business or license all such rights to third parties, certain

  copyrighted musical compositions throughout the world excluding the U.S. and Canada. As

  shown in Exhibit 65, on September 21, 2006 LeCompt and Bug Music, Inc. amended the

  administration agreement to include the U.S. and Canada in the territory where Bug Music, Inc.

  had exclusive rights (and an ownership interest) in the copyrighted musical compositions, the

  copyrighted composition identified in Appendix A72 Pursuant to the Bug Music Mergers, the

  assets of Bug Music, Inc. were transferred to BMG giving it an ownership interest in, including

  the exclusive right to administer and exploit, the copyrighted work listed in Appendix A72.

     GG.         BMG obtained the exclusive right to administer and exploit the Field Code
                 Music copyrighted works listed in Appendix A73

           94.   Field Code Music is listed as a claimant on the registration certificate issued by

  the U.S. Copyright Office for the copyrighted works listed in Appendix A73. The certified


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  copyright registration for the copyrighted works in Appendix A73 is attached hereto as Exhibit

  B867. As shown in Exhibit 66, on April 13, 2001, Jim O’Rourke d/b/a Field Code Music

  entered into an administration agreement with Bug Music, Inc. wherein O’Rourke transferred

  and assigned to Bug Music, Inc. an ownership interest in, including the sole and exclusive right

  to administer and exploit, print, publish, sell, use and license the performance and use of the

  compositions, license for mechanical reproduction, public performance and synchronization uses

  and to assign in the normal course of business or license all such rights to third parties, certain

  copyrighted musical compositions, including those listed in Appendix A73. Pursuant to the Bug

  Music Mergers, the assets of Bug Music, Inc. were transferred to BMG giving it an ownership

  interest in, including the exclusive right to administer and exploit, the copyrighted works listed in

  Appendix A73.

      HH.         BMG obtained ownership rights in the Firehouse Cat Music copyrighted
                  works listed in Appendix A74

          95.     Firehouse Cat Music is listed as a claimant on the registration certificates issued

  by the U.S. Copyright Office for the copyrighted works listed in Appendix A74. The certified

  copyright registration for the copyrighted works in Appendix A74 are attached hereto as Exhibits

  B868-B869. As shown in Exhibit 67, on May 14, 2013 Firehouse Cat Music, Inc. f/s/o Greg

  Wells, individually and d/b/a Firehouse Cat Music, entered into a co-publishing agreement with

  BMG transferring and assigning to BMG an undivided 50% ownership share in the whole and

  entire copyright, together with all other rights, title or interest of every kind, nature and

  description in, including the exclusive right to administer and exploit, the composition identified

  in Appendix A74. As shown in Exhibit 68, also on May 14, 2013 Firehouse Cat Music, Inc. f/s/o

  Greg Wells, individually and d/b/a Firehouse Cat Music, amended the co-publishing agreement




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  but did not alter the transfer and assignment to BMG of the copyright interest in the composition

  identified on Appendix A63.

     II.         BMG obtained the exclusive right to administer and exploit the Freak Off
                 The Leash copyrighted works listed in Appendix A75

           96.   Freak off the Leash Music is listed as a claimant on the registration certificate

  issued by the U.S. Copyright Office for the copyrighted work listed in Appendix A75. The

  certified copyright registration for the copyrighted work in Appendix A75 is attached hereto as

  Exhibit B870. As shown in Exhibit 69, on September 1, 2006 Laura Veirs (doing business as

  Freak Off The Leash Music) entered into an administration agreement with Bug Music, Inc.

  wherein Veirs transferred and assigned to Bug Music, Inc. an ownership interest in, including the

  sole and exclusive right to administer and exploit, print, publish, collect on, sell, use and license

  the performance and use of the compositions, license for mechanical reproduction, public

  performance and synchronization uses and to assign in the normal course of business or license

  all such rights to third parties, certain copyrighted musical compositions, including those listed in

  Appendix A75. Pursuant to the Bug Music Mergers, the assets of Bug Music, Inc. were

  transferred to BMG giving it an ownership interest in, including the exclusive right to administer

  and exploit, the copyrighted work listed in Appendix A75.

     JJ.         BMG obtained the exclusive right to administer and exploit the Hee Bee
                 Dooinit Music and Heebeedooinit Music copyrighted works listed in
                 Appendices A76 and A77

           97.   Hee Bee Dooinit Music and Heebeedooinit Music are listed as claimants on the

  registration certificates issued by the U.S. Copyright Office for the copyrighted works listed in

  Appendices A76 and A77. The certified copyright registrations for the copyrighted works in

  Appendix A76 and A77 are attached hereto as Exhibits B871-B874. Hee Bee Dooinit Music and

  Heebeedooinit Music are both d/b/a’s of Quincy Jones. As shown in Exhibit 18, on October 16,



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  2006 Quincy Jones and other parties entered into agreements with Cherry Lane Music Publishing

  Company, Inc. (“Cherry Lane”) wherein Quincy Jones transferred and assigned to Cherry Lane

  an ownership interest in, including the sole and exclusive right during the term throughout the

  universe to administer, protect and deal in and with the copyrighted musical compositions

  (including those listed in Appendices A76 and A77), as if Cherry Lane were the sole and

  exclusive owner thereof. As shown in Exhibit 19, Quincy Jones and Cherry Lane amended the

  October 16, 2006 to extend the term and amend other terms but not the right to Cherry Lane to

  solely and exclusively administer the copyrights. Pursuant to the Cherry Lane Mergers, the

  assets and interests in copyrights of Cherry Lane Music Publishing Company, Inc. were

  transferred to BMG, thereby giving BMG an ownership interest in, including the exclusive right

  to administer and exploit the copyrighted works listed in Appendices A76 and A77.

     KK.         BMG obtained the exclusive right to administer and exploit the Hennessey
                 For Everyone Music copyrighted works listed in Appendix A78

         98.     Hennessey for Everyone Music is listed as a claimant on the registration

  certificates issued by the U.S. Copyright Office for the copyrighted works listed in Appendix

  A78. The certified copyright registrations for the copyrighted works in Appendix A78 are

  attached hereto as Exhibits B875-B887. Hennessey for Everyone Music is a d/b/a of Alvin

  Nathaniel Jointer (professional known as “Xzibit”). As shown in Exhibit 70, on September 7,

  2012 Alvin Nathaniel Joiner (p/k/a Xzibit) entered into an agreement with BMG wherein BMG

  acquired an ownership interest in, including the exclusive right to administer, exploit, license,

  collect all income and royalties to certain copyrights, including those listed in Appendix A78.

     LL.         BMG obtained the exclusive right to administer and exploit the Highway 87
                 Music copyrighted works listed in Appendix A79

         99.     Highway 87 Music is listed as a claimant on the registration certificate issued by

  the U.S. Copyright Office for the copyrighted work listed in Appendix A79. The certified


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  copyright registration for the copyrighted work in Appendix A79 is attached hereto as Exhibit

  B888. Highway 87 Music is a d.b.a. of Highway 87 Publishing. As shown in Exhibit 71, on

  July 15, 2006 Hayes Carll (doing business as Highway 87 Publishing) entered into an

  administration agreement with Bug Music, Inc. wherein he transferred and assigned to Bug

  Music, Inc. an ownership interest in, including the sole and exclusive right to administer and

  exploit, print, publish, sell, use and license the performance and use of the compositions, license

  for mechanical reproduction, public performance and synchronization uses and to assign in the

  normal course of business or license all such rights to third parties, certain copyrighted musical

  compositions, including those listed in Appendix A68. Pursuant to the Bug Music Mergers, the

  assets of Bug Music, Inc. were transferred to BMG giving it an ownership interest in, including

  the exclusive right to administer and exploit the copyrighted work listed in Appendix A79.

     MM.         BMG obtained ownership rights in the James Osterberg Music copyrighted
                 works listed in Appendix A80

     100.        James Osterberg Music is listed as a claimant on the registration certificate issued

  by the U.S. Copyright Office for the copyrighted work listed in Appendix A80. The certified

  copyright registration for the copyrighted work in Appendix A80 is attached hereto as Exhibit

  B889. As shown in Exhibit 72, James Osterberg p/k/a Iggy Pop, individually, as the sole owner

  and proper legal representative of the fictitious business entity James Osterberg Music entered

  into an asset purchase and sale agreement with Bug Music, Inc. on March 13, 2008 wherein

  James Osterberg (d/b/a James Osterberg Music) sold, conveyed, assigned and transferred to Bug

  Music, Inc. all of his title and interest in certain copyrighted musical compositions, specifically

  including the title on Appendix A80, as well as the sole and exclusive right to administer,

  exploit, license all of Osterberg’s fractional ownership interests in the copyrights for the term of

  copyright. Pursuant the Bug Music Mergers, the assets of Bug Music, Inc., including its interest



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  in the copyrighted work listed in Appendix A80, were transferred to BMG giving it an ownership

  interest in, including the exclusive right to administer and exploit the copyrighted work listed in

  Appendix A80.

     NN.         BMG obtained the exclusive right to administer and exploit the John Dawson
                 Winter and Johnny Winter copyrighted works listed in Appendices A81 and
                 A82

     101.        John Dawson Winter or his fictitious d/b/a name Johnny Winter is listed as a

  claimant on the registration certificates issued by the U.S. Copyright Office for the copyrighted

  works listed in Appendices A81 and A82. The certified copyright registrations for the

  copyrighted works in Appendix A81 and A82 are attached hereto as Exhibits B89-B891. As

  shown in Exhibit 73, on April 30, 2010 Johnny Winter (and others) entered into an agreement

  with Cherry Lane Music Publishing Company, Inc. (“Cherry Lane”) wherein Winter assigned to

  Cherry Lane an ownership interest in, including the exclusive right to administer, sell, otherwise

  dispose of, and deal with the music publishing rights in and to, Winter’s interests in certain

  copyrighted musical compositions, including those listed on Appendices A81 & A82. Pursuant

  to the Cherry Lane Mergers, the assets and copyrights of Cherry Lane Music Publishing

  Company, Inc. were transferred to BMG giving it an ownership interest in, including the

  exclusive right to administer and exploit, the copyrighted works listed in Appendices A81 and

  A82.

     OO.         BMG obtained the exclusive right to administer and exploit the Joundsongs
                 copyrighted works listed in Appendix A83

     102.        Joundsongs is listed as a claimant on the registration certificate issued by the U.S.

  Copyright Office for the copyrighted works listed in Appendix A83. The certified copyright

  registration for the copyrighted works in Appendix A83 are attached hereto as Exhibit B892. As

  shown in Exhibit 74, Will Robinson Sheff (d/b/a Joundsongs) entered into an administration



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  agreement with Bug Music, Inc. on November 8, 2007, wherein Sheff transferred and assigned to

  Bug Music, Inc. an ownership interest in, including the sole and exclusive right to administer and

  exploit the subject copyrights throughout the world, including the right to print, publish, sell, use

  and license the performance and use the copyrights throughout the world, to execute in Sheff’s

  name any licenses and agreements affecting the copyrights, license for mechanical reproduction,

  public performance and synchronization uses and assign such uses to third parties, certain

  copyrighted musical compositions, including those listed in Appendix A83.

     103.        As shown in Exhibit 75, on October 24, 2011 Sheff (d/b/a Joundsongs) and Bug

  Music, Inc. amended their Nov. 8, 2007 agreement. Then, as shown in Exhibit 76, subsequent to

  the Bug Mergers, on September 3, 2013 BMG and Will Robinson Sheff (d/b/a Joundsongs)

  entered into a second amendment to the November 8, 2007 agreement wherein BMG and Sheff

  restated and expanded the list of copyrighted musical compositions subject to the agreement,

  specifically including the titles listed on Appendix A83. These agreements, along with the Bug

  Music Mergers, transferred to BMG an ownership interest in, including the exclusive right to

  administer and exploit, the copyrights in Appendix A83.

     PP.         BMG obtained the exclusive right to administer and exploit the Moonlight
                 Canyon Publishing copyrighted works listed in Appendix A84

     104.        Moonlight Canyon Publishing is listed as a claimant on the registration certificate

  issued by the U.S. Copyright Office for the copyrighted work listed in Appendix A84. The

  certified copyright registration for the copyrighted work in Appendix A84 is attached hereto as

  Exhibit B893. As shown in Exhibit 77, Ronald Franklin Block, doing business as Moonlight

  Canyon Publishing, entered into an administration agreement with Bug Music Group (including

  Bug Music, Inc. for Moonlight Canyon Publishing) on August 25, 1992, wherein Ronald

  Franklin Block (d/b/a Moonlight Canyon Publishing) transferred to Bug Music Group (and Bug



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  Music, Inc.) an ownership interest, including the exclusive right to administer and exploit certain

  copyrighted musical compositions, including those listed in Appendix A84. As shown in

  Exhibit 78, Bug Music, Inc. and Ronald Franklin Block (d/b/a Moonlight Canyon Publishing)

  amended their agreement on February 25, 1997, but did not change the rights transferred to Bug

  Music, Inc. Pursuant to the Bug Music Mergers, the assets of Bug Music Group (including Bug

  Music, Inc.) were transferred to BMG giving it an ownership interest in, including the exclusive

  right to administer and exploit, the copyrighted work listed in Appendix A84.

     QQ.         BMG obtained ownership interest in the Raylene Music copyrighted works
                 listed in Appendix A85

     105.        Raylene Music (a d/b/a of Hillary Lindsey) is listed as a claimant on the

  registration certificates issued by the U.S. Copyright Office for the copyrighted works listed in

  Appendix A85. The certified copyright registrations for the copyrighted works in Appendix A85

  are attached hereto as Exhibits B894-B900. As shown in Exhibit 79, Hillary Lindsey entered

  into an administration agreement with BMG on or about October 1, 2010 wherein Lindsey

  assigned and transferred to BMG an ownership interest in the copyrights of Raylene Music listed

  in Appendix A86, including but not limited to the sole and exclusive right to administer all rights

  in the subject compositions, including the sole and exclusive right to use, exploit, promote, copy,

  print, publish, sell and issue copies to the public in any form and by any means whatsoever and

  to print, publish and sell sheet music, broadcast, grant worldwide perpetual licenses in, perform,

  make adaptations and arrangements of, to alter, reproduce in any manner or form, and the right

  to exercise all other rights of whatsoever nature in and to the copyrighted compositions during

  the term.

     106.        Subsequent to the administration agreement, as shown in Exhibit 80, Hillary

  Lindsey then entered into a sale and purchase agreement with BMG on or about December 17,



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  2012 wherein Lindsey sold, assigned and transferred to BMG her entire right, title and interest

  throughout the world and universe in and to the copyrights in musical compositions, including

  but not limited to the copyrighted work listed on Appendix A85.

     RR.         BMG obtained the exclusive right to administer and exploit the
                 Sadguitarious copyrighted works listed in Appendix A86

     107.        Sadguitarious is listed as a claimant on the registration certificates issued by the

  U.S. Copyright Office for the copyrighted works listed in Appendix A86. The certified

  copyright registrations for the copyrighted works in Appendix A86 are attached hereto as

  Exhibits B901-B903. Sadguitarious is a fictitious d/b/a name of Sadguitarious Music. As shown

  in Exhibit 81, Ben Goldwasser individually and d/b/a Sadguitarious Music and Andrew Van

  Wyngarden (d/b/a Old Man Future Music) entered into an agreement with BMG on December

  17, 2009 that transferred to BMG an ownership interest in, including the exclusive right to

  administer and exploit, the copyrights of Sadguitarious listed in Appendix A86. As shown in

  Exhibit 82, Ben Goldwasser individually and d/b/a Sadguitarious Music and Andrew Van

  Wyngarden (d/b/a Old Man Future Music) entered into an agreement with BMG on December

  11, 2012, whereby they converted their prior exclusive administration agreement with BMG to a

  co-publishing agreement wherein they transferred and assigned to BMG an undivided 50%

  ownership interest in the entire right, title and interest throughout the United States and Canada,

  including renewals and extensions thereof, in all of their copyrights, including the copyrighted

  works listed in Appendix A86.

     SS.         BMG obtained the exclusive right to administer and exploit the Songs of Big
                 Deal copyrighted works listed in Appendix A87

     108.        Songs of Big Deal is listed as a claimant on the registration certificate issued by

  the U.S. Copyright Office for the copyrighted work listed in Appendix A87. The certified

  copyright registration for the copyrighted work in Appendix A87 is attached hereto as Exhibit


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  B904. As shown in Exhibit 83, Big Deal Music, LLC (d/b/a Songs of Big Deal) entered into an

  agreement with BMG on December 12, 2012, that transferred to BMG during the term and in the

  territory (including the U.S.) an ownership interest in, including the exclusive right to administer,

  exploit and exercise all rights in and to, the copyrighted work of Songs of Big Deal listed in

  Appendix A87.

     TT.         BMG obtained the exclusive right to administer and exploit the Tefnoise
                 Publishing LLC copyrighted works listed in Appendix A88

     109.        Tefnoise Publishing LLC is listed as a claimant on the registration certificates

  issued by the U.S. Copyright Office for the copyrighted works listed in Appendix A88. The

  certified copyright registrations for the copyrighted works in Appendix A88 are attached hereto

  as Exhibits B905-B906. As shown in Exhibit 84 Jordan Houston and Paul Beauregard, d/b/a

  Tefnoise Publishing, entered into a publishing agreement with Bug Music, Inc. on October 11,

  2007, wherein Houston and Beauregard transferred and assigned to Bug Music, Inc. an

  ownership interest in, including the sole and exclusive right to administer and exploit, print,

  publish, sell, use and license the performance and use of the compositions, license for

  mechanical reproduction, public performance and synchronization uses and to assign in the

  normal course of business or license all such rights to third parties, the copyrighted compositions

  listed in Appendix A79. The agreement remains in effect.

     110.        As shown in Exhibit 85, Jordan Houston entered into an additional agreement

  with BMG giving BMG an ownership interest in Houston’s and his affiliated companies (e.g.,

  Tefnoise Publishing LLC) copyrighted compositions, including the sole and exclusive

  administration and exploitation rights in the copyrights in Appendix A88. In addition to the

  direct agreement with BMG, pursuant to the Bug Music Mergers, the assets of Bug Music, Inc.




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  were transferred to BMG giving it an ownership interest in, including the exclusive right to

  administer and exploit, the copyrights of Tefnoise Publishing LLC listed in Appendix A88.

     UU.         BMG obtained the exclusive right to administer and exploit the Tentative
                 Music copyrighted works listed in Appendix A89

     111.        Tentative Music is listed as a claimant on the registration certificate issued by the

  U.S. Copyright Office for the copyrighted work listed in Appendix A89. The certified copyright

  registration for the copyrighted work in Appendix A89 are attached hereto as Exhibit B907. As

  shown in Exhibit 86, Kevin Griffin, individually and d/b/a Tentative Music, entered into an

  agreement with BMG dated October 1, 2010, wherein Griffin transferred to BMG an ownership

  interest in, including the exclusive right to administer and exploit, the copyrighted works listed in

  Appendix A80. As shown in Exhibits 79, Kevin Griffin, individually and d/b/a Tentative Music,

  entered into an amended agreement with BMG, wherein Griffin extended the term of the October

  1, 2010, and renewed with BMG all exclusive administration and exploitation rights in and to the

  copyrighted work listed in Appendix A89.

     VV.         BMG obtained the exclusive right to administer and exploit the.bag.on-
                 line.adventures copyrighted works listed in Appendix A90

     112.        The.bag.on-line.adventures is listed as a claimant on the registration certificates

  issued by the U.S. Copyright Office for the copyrighted works listed in Appendix A90. The

  certified copyright registrations for the copyrighted works in Appendix A90 are attached hereto

  as Exhibits B908-B914. As shown in Exhibit 87, Claudio Sanchez, d/b/a the.bag.on-

  line.adventures, Travis Stever (d/b/a Point Me At The Sky) and Michael Todd (d/b/a Michael

  The4-Tracker) entered into an exclusive administration agreement with BMG on May 18, 2010,

  wherein Claudio Sanchez, Travis Stever and Michael Todd assigned and transferred to BMG

  during the term an ownership interest, including the sole and exclusive right throughout the

  world to administer all rights of whatsoever nature now known or which may hereafter come into


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  existence in the subject copyrighted work, including the exclusive right to license, exploit,

  reproduce, copy, make available and/or disseminate to the public, publish, sell and issue copies

  to the public, grant licenses, in the subject copyrights, which specifically include the copyrights

  in the musical compositions listed in Appendix A90.

     WW.         BMG obtained the exclusive right to administer and exploit the Woody
                 Guthrie Publications, Inc. copyrighted works listed in Appendix A91

     113.        Woody Guthrie Publications, Inc. is listed as a claimant on the registration

  certificates issued by the U.S. Copyright Office for the copyrighted works listed in Appendix

  A91. The certified copyright registrations for the copyrighted works in Appendix A91 are

  attached hereto as Exhibits B915-B917. As shown in Exhibit 88, Woody Guthrie Publications,

  Inc. entered into an exclusive administration agreement with Bug Music, Inc. on May 17, 2017

  wherein Woody Guthrie Publications, Inc. assigned to Bug Music, Inc. an ownership interest in,

  included the sole and exclusive right to administer and exploit the subject copyrights throughout

  the world, including the right to print, publish, sell, use and license the performance and use the

  copyrights throughout the world, to execute in Woody Guthrie Publications, Inc.’s name any

  licenses and agreements affecting the copyrights, license for mechanical reproduction, public

  performance and synchronization uses and assign such uses to third parties, including those in

  Appendix A91. Pursuant to the Bug Music Mergers, the assets of Bug Music, Inc., including the

  rights to the copyrighted works listed in Appendix A91, were transferred to BMG giving BMG

  an ownership interest in, including the exclusive right to administer and exploit, the copyrighted

  works listed in Appendix A91.

     XX.         BMG obtained ownership interests in the Chi-Boy Music copyrighted works
                 listed in Appendix A92

     114.        Chi-Boy Music is listed as a claimant on the registration certificate issued by the

  U.S. Copyright Office for the copyrighted work listed in Appendix A92. The certified copyright


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  registration for the copyrighted work in Appendix A92 is attached hereto as Exhibit B918. As

  shown in Exhibits 89 and 90, Richard Marx (d/b/a Chi-Boy Music) entered into an agreement on

  June 20, 2009, to sell and assign the copyrights of Security Hogg Music, including the

  copyrighted works listed in Appendix A91, were assigned to Chrysalis Music Publishing, LLC,

  Chrysalis Music Group, Inc., Chrysalis Music and Chrysalis Songs (d/b/a of Chrysalis Music

  Publishing, LLC and Chrysalis Music Group, Inc.). Pursuant to the Chrysalis Mergers, the assets

  of Chrysalis Music Publishing, LLC and Chrysalis Music Group, LLC (including but not limited

  to the copyrighted works listed in Appendix A92) were transferred to BMG. Accordingly, BMG

  acquired an ownership interest in, including the sole and exclusive ownership and right to

  administer and exploit, the interests in the copyrighted work listed in Appendix A92.

     YY.         BMG obtained ownership rights in the Hillary Lindsey copyrighted works
                 listed in Appendix A93

     115.        Hillary Lindsey is listed as a claimant on the registration certificate issued by the

  U.S. Copyright Office for the copyrighted work listed in Appendix A93. The certified copyright

  registration for the copyrighted work in Appendix A93 is attached hereto as Exhibit B919. As

  shown in Exhibit 79, Hillary Lindsey entered into an administration agreement with BMG on or

  about October 1, 2010 wherein Lindsey assigned and transferred to BMG an ownership interest

  in the copyrighted work listed in Appendix A93, including but not limited to the sole and

  exclusive right to administer all rights in the subject compositions, including the sole and

  exclusive right to use, exploit, promote, copy, print, publish, sell and issue copies to the public in

  any form and by any means whatsoever and to print, publish and sell sheet music, broadcast,

  grant worldwide perpetual licenses in, perform, make adaptations and arrangements of, to alter,

  reproduce in any manner or form, and the right to exercise all other rights of whatsoever nature

  in and to the copyrighted compositions during the term. Subsequent to the administration



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  agreement, Hillary Lindsey then entered into a sale and purchase agreement with BMG on or

  about December 17, 2012, attached as Exhibit 80, wherein Lindsey sold, assigned and

  transferred to BMG her entire right, title and interest throughout the world and universe in and to

  the copyrights in musical compositions, including but not limited to the copyrighted works listed

  on Appendix A93.

     ZZ.         BMG obtained the exclusive right to administer and exploit the First Big
                 Snow Publishing copyrighted works listed in Appendix A94

     116.        First Big Snow Publishing is listed as a claimant on the registration certificate

  issued by the U.S. Copyright Office for the copyrighted works listed in Appendix A94. The

  certified copyright registration for the copyrighted works in Appendix A94 are attached hereto as

  Exhibit B920. As shown in the attached Exhibit 91, Scott Avett d/b/a First Big Snow Publishing

  entered into an agreement with BMG on July 1, 2013, wherein Scott Avett (d/b/a First Big Snow

  Publishing) transferred to BMG an ownership interest in, including the exclusive rights to

  administer, license and exploit the copyrighted compositions in all manner and media, including

  the rights to collect on all claims and causes of action related to the compositions, including the

  copyrighted works listed in Appendix A94.

     AAA.        BMG obtained ownership rights in the Geno Lenardo copyrighted works
                 listed in Appendix A95

     117.        Geno Lenardo is listed as a claimant on the registration certificate issued by the

  U.S. Copyright Office for the copyrighted works listed in Appendix A95. Geno Lenardo is

  Eugene Lenardo. The certified copyright registration for the copyrighted works in Appendix

  A95 are attached hereto as Exhibit B921. As shown in the attached Exhibit 92, Eugene Lenardo

  entered into an co-publishing agreement with BMG on April 1, 2013 wherein Geno Lenardo

  transferred and assigned to BMG an undivided 50% interest in Lenardo’s right, title and interest

  throughout the world in and to certain copyrighted musical compositions, including but not


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  limited to the copyrighted works listed in Appendix A95. Eugene Lenardo is also known as

  Geno Lenardo. Pursuant to Exhibit 85, BMG also acquired the ownership interest in, including

  the exclusive rights to administer and license, the copyrights of Geno Lenardo listed in Appendix

  A95.

     BBB.        BMG obtained the exclusive right to administer and exploit the Pear Blossom
                 Music copyrighted works listed in Appendix A96

     118.        Pear Blossom Music is listed as a claimant on the registration certificate issued by

  the U.S. Copyright Office for the copyrighted work listed in Appendix A96. The certified

  copyright registrations for the copyrighted work in Appendix A96 is attached hereto as Exhibit

  B922. As shown in the attached Exhibit 93, Glenn Kotche, doing business as Pear Blossom

  Music, entered into an administration agreement with Bug Music, Inc. on July 18, 2002, wherein

  Glenn Kotche transferred and assigned an ownership interest in the his copyrighted music

  compositions, including those listed in Appendix A96, that included the sole and exclusive right

  to administer and exploit the subject copyrights throughout the world, including the right to print,

  publish, sell, use and license the performance and use the copyrights throughout the world, and

  to execute in Kotche’s name any licenses and agreements affecting the copyrights, license for

  mechanical reproduction, public performance and synchronization uses and assign such uses to

  third parties. Pursuant to the Bug Music Mergers, the assets, including all ownership interests in

  copyrights, of Bug Music, Inc. were subsequently transferred and assigned to BMG.

  Accordingly, BMG acquired an ownership interest in, including the exclusive right to administer,

  exploit, duplicate, license and perform, the copyrighted work listed in Appendix A96.

     CCC.        BMG obtained ownership rights and the exclusive right to administer and
                 exploit the Turtle First Music copyrighted works listed in Appendix A97

     119.        Turtle First Music is listed as a claimant on the registration certificates issued by

  the U.S. Copyright Office for the copyrighted works listed in Appendix A97. The certified


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  copyright registrations for the copyrighted works in Appendix A97 are attached hereto as

  Exhibits B923-B924. As shown in the attached Exhibit 94, Billy Mann individually and d/b/a

  Turtle First Music entered into a music publishing administration agreement with BMG on April

  17, 2012, wherein Billy Mann transferred and assigned to BMG a 1.01% ownership interest in

  Mann’s retained shared of each copyrighted musical composition under the agreement, including

  the copyrights on Appendix A97 during the agreement’s term. This agreement also transferred

  and assigned an ownership interest in the copyrights, including the sole and exclusive right

  administer, license, and commercially exploit such copyrights in any manner, including the right

  to bring, pursue and collect on all claims and causes of action relating to the copyrighted works

  listed in Appendix A97.

     120.        As shown in the attached Exhibit 95, Billy Mann individually and d/b/a Turtle

  First Music entered into an another Administration Agreement with BMG on January 1, 2015 to

  commence on January 1, 2015. This latter agreement transferred to BMG an ownership interest

  in, including the exclusive right to administer and exploit, including but not limited to the right to

  copy, duplicate, make available, disseminate to the public, reproduce, print, publish, sell,

  broadcast, perform, license, adapt, make arrangements of, and the right exercise all other rights

  of whatsoever nature in the copyrights to the compositions, the copyrighted works listed in

  Appendix A97.

     DDD.        BMG obtained ownership rights in the Robert Kleiner copyrighted works
                 listed in Appendix A98

     121.        Robert Kleiner is listed as a claimant on the registration certificates issued by the

  U.S. Copyright Office for the copyrighted works listed in Appendix A98. The certified

  copyright registration for the copyrighted work in Appendix A98 is attached hereto as Exhibit

  B925. As shown in the attached Exhibit 96, Boardwalk Entertainment entered into a songwriter



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  and co-publishing agreement with BMG for Rob Kleiner’s copyrights on December 9, 2012. As

  shown in the attached Exhibit 97, Rob Kleiner also entered into a Co-Publishing Agreement with

  BMG effective on September 1, 2012. Pursuant to these agreements, BMG acquired a 50%-50%

  ownership interest in, including the exclusive rights to administer and exploit, the entire

  copyright together with all other rights, title or interest of every kind, nature and description in

  each of the compositions of Robert Kleiner, including the copyrighted work listed in Appendix

  A98.

     EEE.        BMG obtained ownership rights in the Security Hogg Music copyrighted
                 works listed in Appendix A99

     122.        Security Hogg Music is listed as a claimant on the registration certificate issued

  by the U.S. Copyright Office for the copyrighted work listed in Appendix A99. The certified

  copyright registration for the copyrighted work in Appendix A99 are attached hereto as Exhibit

  B926. As shown in the attached Exhibits 89 and 90, Richard Marx (d/b/a Security Hogg Music)

  entered into an agreement on June 20, 2009, to sell and assign the copyrights of Security Hogg

  Music, including the copyrighted works listed in Appendix A99, were assigned to Chrysalis

  Music Publishing, LLC, Chrysalis Music Group, Inc., Chrysalis Music and Chrysalis Songs

  (d/b/a of Chrysalis Music Publishing, LLC and Chrysalis Music Group, Inc.). Pursuant to the

  Chrysalis Mergers, the assets of Chrysalis Music Publishing, LLC and Chrysalis Music Group,

  LLC (including but not limited to the copyrighted works listed in Appendix A99) were

  transferred to BMG. Accordingly, BMG acquired an ownership interest in, including the

  exclusive ownership and right to administer and exploit, the copyrighted works listed in

  Appendix A99.




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     FFF.        BMG obtained ownership rights in The Strokes Band Music copyrighted
                 works listed in Appendix A100

     123.        The Strokes Band Music is listed as a claimant on the registration certificate

  issued by the U.S. Copyright Office for the copyrighted work listed in Appendix A100. The

  certified copyright registration for the copyrighted work in Appendix A100 is attached hereto as

  Exhibit B927. As shown in the attached Exhibit 98, Julian Casablancas, Nick Valensi, Albert

  Hammond, Jr., Nikolai Fraiture, and Fabrizio Moretti individually and p/k/a “The Strokes” and

  d/b/a The Strokes Band Music entered into an agreement with BMG on July 23, 2013 wherein

  The Strokes transferred and assigned 50% share in the whole and entire copyrights of the

  compositions on Appendix A100 to BMG, including the sole and exclusive right to reproduce,

  make available and/or disseminate to the public, mechanically reproduce, sell copies of,

  administer and exploit and all other rights of whatever nature with respect to the copyrighted

  work in Appendix A100.

     GGG.        BMG obtained ownership rights in the In Thee Face Music copyrighted
                 works listed in Appendix A101

     124.        In Thee Face Music Publishing is listed as a claimant on the registration

  certificate issued by the U.S. Copyright Office for the copyrighted work listed in Appendix

  A101. The certified copyright registration for the copyrighted work in Appendix A101 is

  attached hereto as Exhibit B928. As shown in the attached Exhibit 99, Ghet-O-Vision

  Entertainment, LLC d/b/a In Thee Face entered into an Exclusive Songwriter/Co-Publishing

  Agreement with Bug Music, Inc. on July 31, 2008, wherein In The Face Music Publishing

  transferred and assigned a 50% of all ownership rights and interests in the copyrighted works

  listed in Appendix A101 (including the sole and exclusive rights to administer and exploit the

  subject copyrights) to Bug Music Inc. Exhibit 100 is an Amendment to Exhibit 99 dated March

  9, 2012. Exhibit 101, dated December 18, 2012, is an Amendment to the prior agreements and


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  references BMG as the successor-in-interest to Bug Music, Inc. Exhibit 102 is a further

  amendment to the prior agreements and dated February 2, 2015. In Thee Face Music Publishing

  is a d.b.a. of Ghet-O-Vision Entertainment, LLC. Pursuant to the Bug Music Mergers, the assets

  and all copyrights interests of Bug Music Inc. (including the copyrights in Appendix A101) were

  acquired by BMG. Accordingly, these agreements gave BMG an ownership interest in,

  including the exclusive right to administer and exploit the copyrighted work listed in Appendix

  A101.

     HHH.       BMG obtained the exclusive right to administer and exploit the Art In The
                Fodder copyrighted works listed in Appendix A102

     125.       Art In The Fodder Music is listed as a claimant on the registration certificate

  issued by the U.S. Copyright Office for the copyrighted work listed in Appendix A102. The

  certified copyright registration for the copyrighted work in Appendix A102 is attached hereto as

  Exhibit B929. As shown in the attached Exhibit 103, Mark Holman entered into an Exclusive

  Songwriter/Co-Publishing Agreement with Arthouse Entertainment, LLC d/b/a Art In The

  Fodder Music, on November 8, 2010. As shown in Exhibit 104, Arthouse Entertainment LLC,

  Kara DioGuardi and Stephen Finfer entered into an agreement with BMG on December 4, 2012,

  transferring and assigning to BMG a 1/3 right in the assets and copyrights of Arthouse

  Entertainment, LLC, including its sole and exclusive administration rights in Mark Holeman’s

  musical compositions. As shown in Exhibit 105, Arthouse Entertainment, LLC entered into an

  agreement with Bug Music, Inc. Art in the Fodder is a d.b.a. of Arthouse Entertainment, LLC.

  Pursuant to these agreements and the Bug Music Mergers, the assets of Bug Music, Inc.,

  including an ownership interest in the copyrights Appendix A102, were transferred to BMG.

  Accordingly, these agreements gave BMG an ownership interest in, including the exclusive right

  to administer and exploit, the copyrighted work listed in Appendix A102.



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                                       Appendix A1

                    Copyrights of BMG Rights Management (US) LLC.

                 Song Title                       Copyright Registration
   Adulthood                               PA0001869859
   Alive                                   PA0001883743
   All For Love                            PA0001869859
   All the Heavy Lifting                   PA0001867941
   Ancient Tombs                           PA0001881390
   At Last                                 PA0001869859
   Back On The Ground                      PA0001784525
   Back Porch                              PA0001870815
   Bad Apple                               PA0001865104
   Ballin Out                              PA0001876466
   Bandz A Make Her Dance                  PA0001872632
   Be Free, A Way                          PA0001860262
   Beaches                                 PA0001868920
   Beautiful                               PA0001867307
   Beautiful War                           PA0001874064
   Behind Closed Doors                     PA0001858725
   Berlin                                  PAu003676992
   Between The Mountains And The Sea       PA0001881392
   Birthday Girl                           PA0001873320
   Black John                              PA0001856397
   Bliss                                   PA0001853345
   Blue Smoke                              PA0001856397
   Bust It Open                            PA0001876568
   Butterflies                             PA0001869700
   By the Grace of God                     PA0001878338
   Canine                                  PA0001881394
   CH 375 268 277 ARS                      PA0001861032
   Comeback Story                          PA0001874064
   Coming Back Again                       PA0001874064
   Courage Of The Knife                    PA0001881394
   Cross Burner                            PA0001861032
   Cry For Love                            PA0001869705
   Dawn                                    PA0001839017
   Dead                                    PA0001881072
   Deal with the Devil                     PA0001858727
   Devils On Our Side                      PA0001869859
   Die Together                            PAu003676992


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   Dirty Dishes                        PA0001784526
   Divide                              PA0001858729
   Don't Let Me Fall Behind            PA0001869859
   Don't Matter                        PA0001874064
   Dope Peddler                        PA0001817873
   Earthquake Weather                  PA0001873316
   Everybody Knows                     PA0001869859
   Faded in the Morning                PA0001839017
   Fall Into These Arms                PAu003676991
   Falling Out                         PA0001865104
   Family Tree                         PA0001874064
   Farewell, December                  PA0001865385
   Fireflies                           PA0001869704
   Flawed                              PA0001859116
   Forget Forever                      PA0001875994
   From The Sun                        PA0001839017
   Frost Flower                        PA0001881391
   Geekin'                             PA0001879100
   Ghosts In Empty Houses              PA0001881072
   GID                                 PA0001865104
   Gifted                              PA0001876464
   Give Me Hope                        PAu003676992
   Glass                               PA0001881394
   Goodbye Copenhagen                  PAu003676992
   Goodbye My Friend                   PA0001858724
   Gorilla                             PA0001850613
   Gravesend                           PA0001856397
   Great Big Love                      PA0001877140
   Harlem                              PA0001865093
   Heart Starts                        PA0001873316
   Heave                               PA0001865104
   Holy Mountain                       PA0001881394
   Human Nature                        PA0001865104
   I Told Em                           PA0001876468
   I Wanna Be A Warhol                 PA0001859681
   If I Knew                           PA0001850609
   If Only                             PA0001871013
   In My Dreams                        PA0001869955
   Juniper                             PA0001868920
   Just Like Me                        PAu003676992
   Kill The Lights                     PA0001865384



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   Kinks Shirt                            PA0001865384
   Last Days of Summer in San Francisco   PA0001873298
   Last Mile Home                         PA0001874064
   Leave My Heart Out Of This             PA0001879361
   Let Me Go                              PA0001852883
   Locked Out Of Heaven                   PA0001820283
   Long Teenage Goodbye                   PA0001867241
   Look... the Sun Is Rising              PA0001860262
   Magic That I Held You Prisoner         PA0001861032
   Man In The Moon                        PA0001881072
   Mi Amor                                PA0001881390
   Mission Bells                          PA0001873293
   Money Make Her Smile                   PA0001850611
   Monki                                  PA0001839017
   Morocco                                PA0001868920
   My Own Mistakes                        PA0001868920
   Naked Love                             PA0001835901
   New To It                              PA0001865104
   No Ceiling                             PA0001864874
   No Need For a Leader                   PA0001839017
   Nothing's Funny                        PA0001861032
   Oath                                   PA0001820278
   Obey Me                                PA0001865104
   Oh, Emily                              PA0001881072
   On My Way                              PA0001887927
   On the Chin                            PA0001874064
   Once In A While                        PA0001876566
   One At A Time                          PA0001839017
   Only When You're Close                 PA0001869684
   Out Of Summertime                      PA0001784527
   Overcome                               PAu003676992
   Paranoia Shields                       PA0001861032
   Paranoid                               PA0001876452
   Pop That                               PA0001876595
   Red City                               PA0001856397
   Renacer                                PA0001881394
   River Water                            PA0001868920
   Rock City                              PA0001874064
   Running Wild                           PA0001868920
   Sadist                                 PA0001856397
   Save The Day                           PA0001875995



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   Say When                            PA0001881072
   Secret Xtians                       PA0001839017
   Shame                               PA0001873988
   Shooting Star                       PA0001883831
   Show Me                             PA0001850612
   Sick Sense                          PA0001858726
   Silence & Scars                     PA0001858727
   Simple                              PA0001865104
   Sky High Honey                      PA0001873288
   Snake Bite                          PA0001881394
   So Good at Being in Trouble         PA0001839017
   So Sick                             PA0001853151
   Somebody                            PA0001869859
   Somebody To Love                    PA0001887925
   Space Jam                           PA0001874068
   Spew                                PA0001865104
   Strong                              PA0001881852
   Stronger                            PA0001785612
   Struck Me Down                      PA0001868920
   Stuck On You                        PAu003676992
   Sun Blows Up Today                  PA0001831037
   Sunday New York Times               PA0001873283
   supersoaker                         PA0001874064
   Suspicious                          PA0001868920
   Swim and Sleep (Like a Shark)       PA0001839017
   Take Me Home                        PA0001880221
   Tears Always Win                    PA0001851229
   Temple                              PA0001874064
   Tennessee Time                      PA0001887921
   The Awakening                       PA0001869955
   The Conflagration                   PA0001856397
   The New Black                       PA0001868920
   The Opposite of Afternoon           PA0001839017
   The Path                            PA0001881392
   The Spiritual                       PA0001869859
   The Terror                          PA0001860262
   The Uncanny Valley                  PA0001856397
   Tonight                             PA0001874064
   Tonight You're Perfect              PAu003676992
   Torn to Pieces                      PA0001858727
   Trap House                          PA0001876450



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   Try To Explain                      PA0001860262
   Turning Violent                     PA0001860262
   Understanding Decay                 PA0001861032
   Wait For Me                         PA0001874064
   Waste Your Art                      PA0001865104
   We Go Wherever We Want              PA0001876589
   Welcome to Reality                  PA0001858723
   What You Need                       PA0001853150
   When I Want                         PA0001876570
   When I Was Your Man                 PA0001850617
   Where Did The Beat Go               PA0001833893
   Wildfire                            PA0001872631
   Work On Me                          PA0001874064
   Workin' Woman Blues                 PA0001887925
   You Are Alone                       PA0001860262
   You Lust                            PA0001860262
   Young Journey                       PA0001868920
   Coastal                             PA0001729084
   Days Like These                     PA0001727376
   One Horse Town                      PA0001882680
   Pretty Little Lie                   PA0001882680
   Same Girl                           PA0001894000
   Backstabber                         PA0001773088
   Freaks                              PA0001876592
   A Good Sadness                      PA0001868997
   Bubble Butt                         PA0001867180




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                 Copyrights of BMG Chrysalis d.b.a. BMG Sapphire Songs

                 Song Title                             Copyright Registration
  Big Fat Bass                                 PA0001736821




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                               Copyrights of BMG Sapphire Songs

                  Song Title                        Copyright Registration
   Photographs                               PA0001832450
   Just Can't Get Enough                     PA0001771849
   XOXOXO                                    PA0001755613




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                              Copyrights of BMG Gold Songs

                 Song Title                              Copyright Registration
  All For You                                   PA0001728495
  Carry Out                                     PA0001684721
  Keep The Girl                                 PA0001684857
  Long Way Down                                 PA0001684773
  Makes Me Wonder                               PA0001859583
  Morning After Dark                            PA0001684779
  Never Been Hurt                               PA0001850407
  Our Kind Of Love                              PA0001684869
  Ready To Love Again                           PA0001684862
  Ready To Roll                                 PA0001754097
  Stephen                                       PA0001684836
  Sure Fire Winners                             PA0001684830
  Tomorrow In The Bottle                        PA0001684783
  Undertow                                      PA0001684786
  Wide Open                                     PA0001684851
  Symphony                                      PA0001684772
  If We Ever Meet Again                         PA0001684788
  Marchin On                                    PA0001684784
  Timothy Where You Been                        PA0001684774
  Ease Off The Liquor                           PA0001684775
  We Belong To The Music                        PA0001684781
  Give It up to Me                              PA0001684948




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                                 Copyrights of BMG Ruby Songs

                    Song Title                      Copyright Registration
   Stereo Hearts                             PA0001753459
   Chase Our Love                            PA0001832830




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                             Copyrights of BMG Platinum Songs

                Song Title                        Copyright Registration
   When You Were Mine                      PA0001756558




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                         Copyrights of BMG Platinum Songs US

                Song Title                      Copyright Registration
   Otis                                  PA0001762031
   Up Up & Away                          PA0001832194
   Heart Of A Lion                       PA0001832168
   Like A Champion                       PA0001863900




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                                  Copyrights of Chrysalis Music

                     Song Title                       Copyright Registration
   A Place In The Dirt                         PA0001109787
   Ain't No Thang                              PA0000936472
   Ain't Really Love                           PA0001320677
   All The Wild Horses                         PA0001256141
   Aquemini                                    PA0000936022
   B.O.B.                                      PA0001039708
   Baby's On Fire                              PA0000517069
   Be Without You                              PA0001320675
   Beautiful Mess                              PA0001073133
   Big Train                                   PA0000758982
   Blame Game                                  PA0001784046
   Boom                                        PA0001293255
   Bye Bye                                     PA0001620825
   Call Of Da Wild                             PA0000936473
   Claimin' True                               PA0000936472
   Cradle Of Love                              PA0000474805
   Crumblin' Erb                               PA0000936472
   D.e.e.p.                                    PA0000936472
   Decatur Psalm                               PA0000830924
   Do You Know                                 PA0000463565
   Don't Forget About Us                       PA0001299332
   Extraterrestrial                            PA0000830917
   Floyd                                       PA0001661137
   Forever My Friend                           PA0001256141
   Funkin' Around                              PA0001084834
   Gasoline Dreams                             PA0001039706
   Got Me Waiting                              PA0001308092
   Hammerhead Shark                            PA0000474981
   Hannah                                      PA0001256141
   Hold You In My Arms                         PA0001256140
   Hootie Hoo                                  PA0000936472
   How Come?                                   PA0001256141
   Humble Mumble                               PA0001039711
   I Don't Wanna                               PA0001008964
   I Got It In For You                         PA0000901879
   I'll Call Before I Come                     PA0001039712
   In The Back Of My Mind                      PA0000463564


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   In The Shadow Of The Valley Of Death   PA0001109785
   Incomplete                             PA0001673493
   Jazzy belle                            PA0000830921
   Jolene                                 PA0001256141
   Just Be A Man About It                 PA0001042856
   Kiss Me                                PA0001835341
   Last Kiss                              PA0001620787
   Little Things                          PA0000530691
   Millennium                             PA0000830921
   My Life                                PA0000995891
   Myintrotoletuknow                      PA0000936472
   Naked                                  PA0001101517
   Player's Ball                          PA0000936472
   Presidential                           PA0001851265
   Rap Game/crack Game                    PA0000901076
   Red Velvet                             PA0001039708
   Rosa Parks                             PA0000936022
   Shelter                                PA0001256141
   Slum Beautiful                         PA0001039709
   Slump                                  PA0000936024
   Snappin' & Trappin'                    PA0001039716
   So Gone (Remix)                        PA0001242111
   Southernplayalisticadillacmuzik        PA0000936472
   Spaghetti Junction                     PA0001039707
   Spottieottiedopaliscious               PA0000936026
   Stankonia                              PA0001039715
   Still Waiting                          PA0001117572
   Synthesizer                            PA0000936023
   Talkin' To My Heart                    PA0000717211
   Target Audience (Narcissus Narcosis)   PA0001109785
   The Fight Song                         PA0001109787
   The Love Song                          PA0001109785
   The Nobodies                           PA0001109787
   The Whole World                        PA0001084835
   Tomorrow                               PA0001098345
   Trouble                                PA0001256141
   West Savannah                          PA0000936018
   Wheelz Of Steel                        PA0000830918
   When The Sun Goes Down                 PA0000463566
   Ya Blind                               PA0001147325
   You Don't Love Me Anymore              PA0000948077



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   You May Die (Intro)                 PA0000830919
   Git Up, Git Out                     PA0000936474
   I DO                                PA0001779509
   Liberation                          PA0000936028
   Wait For Me                         PA0001775281
   Falling Free                        PA0001811470




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                              Copyrights of Chrysalis Music Group

                 Song Title                          Copyright Registration
   Sunday Warning                             PAu003054094
   Switch On                                  PA0001367956
   Not Over                                   PA0001367956




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                          Copyrights of Chrysalis Music Group, Inc.

                   Song Title                       Copyright Registration
   Apple Of My Eye                           PA0001833694
   Circuital                                 PA0001739948
   Come Into My Head                         PA0001798690
   Country Calling                           PA0001871295
   CPU                                       PA0001833707
   Daughters                                 PA0001807576
   Descending                                PA0001833717
   Don't You Remember                        PA0001729882
   Dreamboat                                 PA0001817276
   First Light                               PA0001739948
   Give Me A Sign                            PA0001875983
   God's Love To Deliver                     PA0001845725
   Gorgeous                                  PA0001740943
   Gossip                                    PA0001833704
   Heartbreaker                              PA0001817276
   Heaven                                    PA0001817276
   Higher Window                             PA0001734002
   Holdin' On To Black Metal                 PA0001739949
   If I Were Free                            PA0001871302
   In The A                                  PA0001833699
   In The Lion                               PA0001875905
   In The Summer                             PA0001871294
   Jerry Jr's Tune                           PA0001817276
   Let's Get High                            PA0001871294
   Life Is Hard                              PA0001871295
   Lines                                     PA0001833712
   Love Is Luck                              PA0001817276
   Mama Told Me                              PA0001833710
   Milton                                    PA0001875905
   Movin Away                                PA0001739948
   Nightingales                              PA0001817276
   No Love Allowed                           PA0001851274
   No One Ever Sleeps                        PA0001817276
   Objectum Sexuality                        PA0001833698
   One and Only                              PA0001729884
   Outta My System                           PA0001739948



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   Please
                                       PA0001871303
   Raspberries                         PA0001833718
   Remember To Remember                PA0001871300
   She Hates Me                        PA0001833700
   She Said OK                         PA0001833701
   Shoes for Running                   PA0001833716
   Slow Slow Tune                      PA0001739948
   So Appalled                         PA0001740945
   Someone Like You                    PA0001729882
   Song For Leigh                      PA0001817276
   Southern Heart                      PA0001817276
   Tangerine                           PA0001740637
   Tears Of Joy                        PA0001730701
   Tell Me A Lie                       PA0001848512
   The Day Is Coming                   PA0001739948
   The Great Escape                    PA0001834087
   The Love You Love                   PA0001817276
   The Sleazy Remix                    PA0001774410
   The Thickets                        PA0001833696
   The Witch                           PA0001817276
   They Were Wrong                     PA0001871294
   Thom Pettie                         PA0001833695
   Tremendous Damage                   PA0001833719
   Twelve Fingers                      PA0001743803
   Two                                 PA0001871296
   Victory Dance                       PA0001739948
   We All Want Love                    PA0001773640
   We Can't Be Beat                    PA0001817276
   When You're Young                   PA0001875903
   Wonderful (The Way I Feel)          PA0001739948
   You Wanna Freak Out                 PA0001739948
   Shutterbug                          PA0001740490




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                                Copyrights of Chrysalis Songs

                   Song Title                      Copyright Registration
  After Dollars, No Cents                  PA0000986828
  Aluminum Park                            PA0001614276
  Do What You Have To Do                   PA0000902960
  Don't Walk Away                          PA0000846518
  Evil Urges                               PA0001614276
  Going Through Somethangs                 PA0000986828
  Good Intentions                          PA0001614276
  Highly Suspicious                        PA0001614276
  I Got A Girl                             PA0000759230
  I Know                                   PA0000915101
  Kiss Tomorrow Goodbye                    PA0001766028
  Look At You                              PA0001614276
  Now That I Have You                      PA0000915101
  Praise The Lord                          PA0000959719
  Remnants                                 PA0001614276
  Rocket Pop                               PA0000759230
  Silence                                  PA0000740717
  Smokin From Shootin                      PA0001614276
  Thank You Too                            PA0001614276
  Two Halves                               PA0001614276
  Your Secret Love                         PA0000825722




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                     Copyrights of Chrysalis Music Publishing, LLC

                 Song Title                        Copyright Registration
   69                                       PA0001597116
   1800                                     PA0001677010
   (S)aint                                  PA0001155076
   100 Dollars                              PA0001670745
   All I Need                               PA0001153594
   Amerykhan Promise                        PA0001603379
   American Witch                           PA0001314788
   Angel                                    PA0001592960
   Anytime                                  PA0001296504
   Are We Really Through                    PA0001717660
   Baby                                     PA0001292628
   Bare Bones                               PA0001295716
   Before I Met You                         PA0001659866
   Beg Steal Or Borrow                      PA0001717660
   Bells Of Nyc                             PA0001724986
   Bermuda Highway                          PA0001222009
   Best Thing                               PA0001661273
   Better Of Two Evils                      PA0001155078
   Better Place                             PA0001716303
   Big Machine                              PA0001248635
   Book Of Life                             PA0001347648
   Boombox Generation                       PA0001208138
   Bowtie                                   PA0001222531
   Butch Cassidy                            PA0001241972
   By My Car                                PA0001241973
   Call On Me                               PA0001348710
   Call You Tonight                         PA0001682919
   Cambridge                                PA0001208138
   Can You See The Hard Helmet On My
                                            PA0001223551
   Head?
   Can't Help But Wait                      PA0001589804
   Capital H                                PA0001208138
   Chronomentrophobia                       PA0001384414
   Civilization                             PA0001224593
   Cobra                                    PA0001223551
   Coming Clean                             PA0001615418
   Come Closer                              PA0001216092


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   Communion                            PA0001716206
   Confessions                          PA0001716237
   Consoler Of The Lonely               PA0001594764
   Dancefloors                          PA0001208144
   Daybreak                             PA0001364233
   Dear God 2.0                         PA0001702953
   Death Is The Easy Way                PA0001218743
   Details In The Fabric                PA0001620832
   Diamonds From Sierra Leone           PA0001299436
   Did You Get My Message               PA0001295714
   Do It For The Kids                   PA0001248635
   Doll-dagga Buzz-buzz Ziggety-zag     PA0001155079
   Dondante                             PA0001296504
   Don't Worry                          PA0001153596
   Easy Morning Rebel                   PA0001208144
   Evelyn Is Not Real                   PA0001241973
   Evergreen                            PA0001295716
   Everything To Nothing                PA0001670745
   Fall To Pieces                       PA0001248635
   A Falling Through                    PA0001722488
   Famous                               PA0001726165
   Fill Me Again                        PA0001295716
   Find Your Love                       PA0001726360
   Follow The Sun Down                  PA0001295716
   For The Summer                       PA0001717660
   Forever Dead                         PA0001716303
   Free                                 PA0001295716
   Get It Out Me                        PA0001364231
   Get Your Number                      PA0001276069
   GhettoMusick                         PA0001222524
   Gideon                               PA0001296504
   Girl I Can't Help It                 PA0001153590
   Go Cat Go                            PA0000894893
   God Willin' & The Creek Don't Rise   PA0001717660
   Golden                               PA0001208144
   Good For Great                       PA0001722486
   Gossip In The Grain                  PA0001722488
   Headspace                            PA0001248635
   Heal In Time                         PA0001295716
   Heartbreakin' Man                    PA0001241974
   Heartless                            PA0001652500



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   Hearts Get Broken All The Time      PA0001066336
   Here And Now                        PA0001716303
   Hey Me Hey Mama                     PA0001722488
   Hip Hop Star                        PA0001212151
   Holy                                PA0001223551
   Hood Boy                            PA0001370324
   Hopefully                           PA0001218741
   How Do You Know                     PA0001216092
   Howl                                PA0001293470
   I Ain't In Checotah Anymore         PA0001299528
   I Can Feel A Hot One                PA0001670745
   I Can't Remember                    PA0001348721
   I Did It My Way                     PA0001203723
   I Need A Girl                       PA0001663041
   I Needed It Most                    PA0001218742
   I Still Care For You                PA0001722488
   I Used To Love HER                  PA0001347648
   I Will Be There When You Die        PA0001241973
   Idlewild Blue                       PA0001384414
   If All Else Fails                   PA0001241974
   If It Smashes Down                  PA0001218742
   I'm That Chick                      PA0001620784
   In My Teeth                         PA0001670745
   Indoor Living                       PA0001208138
   Into The Woods                      PA0001296504
   Invocation                          PA0001384205
   It's About Twilight Now             PA0001241974
   It's Been A Great 3 Or 4 Years      PA0001223551
   It's Like That                      PA0001276067
   I've Got Friends                    PA0001670745
   Jump                                PA0001299567
   Just Because I Do                   PA0001218741
   Just One Thing                      PA0001208144
   Ka-boom Ka-boom                     PA0001155081
   Karma                               PA0001716303
   Knot Comes Loose                    PA0001296504
   Last Breath                         PA0001716303
   Lay Low                             PA0001296504
   Lean                                PA0001295716
   Let It Be Me                        PA0001722488
   Life Is Like A Musical              PA0001384414



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   Life Is Real                        PA0001302424
   Like Rock & Roll And Radio          PA0001717660
   Living Proof                        PA0001670768
   Mahgeetah                           PA0001208144
   Maintaining                         PA0001347648
   Making A Name For Ourselves         PA0001369439
   Maniac                              PA0001734442
   Master Plan                         PA0001208144
   Meg White                           PA0001722488
   Millionaire                         PA0001224375
   Mobscene                            PA0001155084
   Morris Brown                        PA0001384413
   Mr. President                       PA0001615088
   My Favorite Accident                PA0001208138
   My Friend Marcus                    PA0001670745
   Nashville To Kentucky               PA0001241974
   New York City's Killing Me          PA0001717660
   Not Ready To Make Nice              PA0001320467
   Nothin' To Do                       PA0001347648
   No where                            PA0001312269
   Off The Record                      PA0001296504
   Old Before Your Time                PA0001717660
   Old Enough                          PA0001594764
   Old September Blues                 PA0001241971
   Once When I Was Little              PA0001627312
   One Big Holiday                     PA0001208144
   One In The Same                     PA0001208144
   One Love                            PA0001734126
   Orange Pineapple Juice              PA0001347648
   Para-noir                           PA0001155078
   Peaches                             PA0001384406
   Perfect Teeth                       PA0001208138
   Picture Of You                      PA0001241973
   Pieces                              PA0001295716
   Poppin' Tags                        PA0001203722
   Pop's Rap                           PA0001347648
   Pray For Rain                       PA0001718589
   Pride                               PA0001670745
   Red Paint                           PA0001722486
   Repo Man                            PA0001717660
   Resurrection                        PA0001347648



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   Retrace                             PA0001658384
   Ride Insane                         PA0001716303
   Ruling Me                           PA0001728422
   Run For It                          PA0001229145
   Run This Town                       PA0001678122
   Run Thru                            PA0001208144
   Rush                                PA0001654221
   Salute Your Solution                PA0001594764
   Sarah                               PA0001722488
   See You In My Nightmares            PA0001651261
   Set Me Free                         PA0001276196
   Shake It Off                        PA0001276068
   Shake It Out                        PA0001670745
   Shiver                              PA0001208138
   Shottas                             PA0001615171
   Show Me                             PA0001364231
   Show Me A Good Time                 PA0001726360
   Sincerely Jane                      PA0001615088
   Slutgarden                          PA0001155082
   So Excited                          PA0001364232
   So Hard                             PA0001320467
   Somebody Special                    PA0001153592
   Something Special                   PA0001659875
   Song For A Friend                   PA0001295713
   Sooner                              PA0001223551
   Spade                               PA0001155080
   Spectacle                           PA0001248635
   Steam Engine                        PA0001208144
   Strangulation                       PA0001218742
   Strong Arm Broken                   PA0001716303
   Success                             PA0001626998
   Suckertrain Blues                   PA0001248635
   Superhuman                          PA0001248635
   Sweetheart                          PA0001223551
   Thank You                           PA0001678119
   That's Enough                       PA0001295716
   The Bear                            PA0001241974
   The Bright Young Things             PA0001155080
   The Dark                            PA0001241973
   The Devil's In The Jukebox          PA0001717660
   The Devil's Rejects                 PA0001314788



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   The End Is Coming                   PA0001716303
   The Future Freaks Me Out            PA0001208138
   The River                           PA0001670745
   The Switch and the Spur             PA0001594764
   The Way You Move                    PA0001222532
   The Year In Review                  PA0001216092
   They Ran                            PA0001241974
   This Love Is Over                   PA0001717660
   Three Letter Word                   PA0001320785
   Tightrope                           PA0001703004
   Tony The Tiger                      PA0001670745
   Turn Me Away (Get Munny)            PA0001722025
   Turn Ya Out                         PA0001390350
   Unhappy                             PA0001222537
   Unraveling                          PA0001716237
   Use Your Fist And Not Your Mouth    PA0001155082
   Violet Stars Happy Hunting          PA0001615088
   Voices                              PA0001602139
   The War Begun                       PA0001241973
   Watermelon                          PA0001347648
   We Belong Together                  PA0001276066
   We Go Hard                          PA0001216061
   What A Wonderful Man                PA0001296504
   What We Talkin' About               PA0001678136
   What You Are                        PA0001340995
   What's A Man To Do                  PA0001659869
   Winter Birds                        PA0001722488
   Wmoe                                PA0001347647
   Wordless Chorus                     PA0001296504
   Work It                             PA0001153630
   Worth It                            PA0001682925
   You Ain't Fuckin' Wit Me            PA0001224575
   You Are The Best Thing              PA0001722488
   You Don't Understand Me             PA0001594764
   You Me Him & Her                    PA0001222007
   Devil Wouldn't Recognize You        PA0001602134
   Golden Ticket                       PA0001598624
   I Can Barely Breathe                PA0001598624
   I Can Feel Your Pain                PA0001598624
   Now That You're Home                PA0001598624
   Sleeper 1972                        PA0001598624



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   The Neighborhood Is Bleeding        PA0001598624
   Where Have You Been                 PA0001598624
   Wolves At Night                     PA0001598624
   Alice And Interiors                 PA0001598624
   Colly Strings                       PA0001598624
   Many Shades Of Black                PA0001594764
   Knowing                             PA0001222525
   Makes No Sense At All               PA0001384414




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            Copyrights of Lava Lane Music LLC d.b.a. BMG Rights Management

                  Song Title                    Copyright Registration
   Last Man Standing                     PA0001733440




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                   Copyrights of Cherry Lane Music Publishing Co., Inc.

                 Song Title                               Copyright Registration
  Ain't It Pretty                                PA0001634040
  Compton                                        PA0001594061
  Damn Girl                                      PA0001368774
  Disco Club                                     PA0001334574
  Do It Like This                                PA0001769188
  Don't Stop The Party                           PA0001769186
  Eye Of The Storm                               PA0000725619
  Finally                                        PA0001652676
  Fly Girl                                       PA0001634031
  Good Life                                      PA0001636567
  I Want You                                     PA0001594040
  I Was Wrong                                    PA0001648574
  If I Were A Boy                                PAu003358950
  If You Only Knew                               PA0001633791
  Let's Get It Started                           PA0001395487
  Love You Long Time                             PA0001769183
  Mr. Magic (Through The Smoke)                  PA0001615225
  She's A Star                                   PA0001634040
  The Best One Yet (The Boy)                     PA0001769193
  Whenever                                       PA0001769173
  Mary Jane Shoes                                PA0001389488




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                             Copyrights of 1996 Music Publishing

                    Song Title                             Copyright Registration
  Sex With My Ex                                  PA0001381116
  Make It Work                                    PA0001381116
  Question Existing                               PA0001387329
  Discipline                                      PA0001608200
  Welcome To The Dollhouse                        PA0001602268
  Thank You                                       PA0001316629




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                          Copyrights of Cherry 315 Publishing

                 Song Title                             Copyright Registration
  Someday                                      PA0001732507
  Get Your Hands Up                            PA0001389486
  Beautiful People                             PA0001748236




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                             Copyrights of Cherry River

                Song Title                             Copyright Registration
  Free Mason                                  PA0001821875




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                               Copyrights of Cherry River Music

                  Song Title                                Copyright Registration
  Boom Boom Pow                                    PA0001666770
  Electric City                                    PA0001698126
  I Gotta Feeling                                  PA0001666768
  Now Generation                                   PA0001698159
  Party All The Time                               PA0001698184
  Ring-A-Ling                                      PA0001698118
  Rock That Body                                   PA0001666771
  What's Your Name                                 PA0001602831




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                             Copyrights of Cherry River Music Co.

                   Song Title                               Copyright Registration
  Stay With You                                    PA0001160449
  Do You Wanna Ride                                PA0001166206
  Everybody Knows                                  PA0001618197
  I Love, You Love                                 PA0001656153
  Quickly                                          PA0001646376
  Special Occasion (Interlude)                     PA0001641384
  Till The Wheels Fall Off                         PA0001373446
  Get In, Fit In                                   PA0001626152
  One More Chance                                  PA0001632079




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                                 Copyrights of Bug Music Inc.

                    Song Title                              Copyright Registration
  Begin Again                                      PA0001677049
  Believe In Me                                    PA0001625099
  Climax                                           PA0001788200
  Cry Your Heart Out                               PA0001851239
  Die For You                                      PA0001794745
  Dig Into Waves                                   PA0001864339
  Don't Tell Me It's Love                          PA0001606685
  Fearless                                         PA0001677051
  Follow Through                                   PA0001864339
  Full Circle                                      PA0001794742
  Hookup                                           PA0001675405
  I Never Told You                                 PA0001677049
  I Wanna Be Free                                  PA0001606685
  It's Not Ok                                      PA0001853255
  Land Features                                    PA0001864339
  Locked Out                                       PA0001864339
  Lost                                             PA0001850236
  Magnet                                           PA0001606700
  Never Close Our Eyes                             PA0001797667
  On The Run                                       PA0001605967
  One Thing                                        PA0001851226
  Ooh Ooh Baby                                     PA0001609288
  Pink Matter                                      PA0001850227
  Pyramids                                         PA0001850225
  Real                                             PA0001851267
  Red Hot Kinda Love                               PA0001851289
  Red Star                                         PA0001864339
  Runaway                                          PA0001606651
  Sober                                            PA0001625780
  Spitting Image                                   PA0001864339
  Start                                            PA0001864018
  Starting Today                                   PA0001605967
  Sweet Life                                       PA0001850239
  Taking Chances                                   PA0001608654
  Te Tengo Aqui                                    PA0001606687
  The Middle                                       PA0001626899
  The Nothing                                      PA0001864339
  What I Wanted To Say                             PA0001677051
  White                                            PA0001850231
  Winter Seeds                                     PA0001864339


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                                   Copyrights of Bug Music

                    Song Title                             Copyright Registration
  Call Of The Zombie                              PA0000943994
  Demon Speeding                                  PA0000846563
  Demonoid Phenomenon                             PA0000960690
  Dragula                                         PA0000943994
  Everything I Love The Most                      PA0001770745
  Feel So Numb                                    PA0000846564
  Frontside                                       PA0001015196
  Fucked In Love                                  PA0001782393
  Growing Up In The Gutter                        PA0001770747
  HOT MESS                                        PA0001671402
  How To Make A Monster                           PA0000960690
  Jump Around                                     PA0001339361
  Living Dead Girl                                PA0000943994
  Made In The Usa                                 PA0001770749
  Meet The Creeper                                PA0000960690
  Never Gonna Stop                                PA0000846563
  Open My Eyes                                    PA0001015193
  Pilot Jones                                     PA0001828052
  Place In The Sun                                PA0001015188
  Porno Star                                      PA0001015194
  Radioactive Introduction                        PA0001770744
  Return Of The Phantom Stranger                  PA0000960690
  Sinners Inc.                                    PA0000846563
  Slumerican Shitizen                             PA0001770753
  Spookshow Baby                                  PA0000960690
  Strut                                           PA0001682926
  Superbeast                                      PA0000960690
  Tha Mobb                                        PA0001322468
  The Last Song                                   PA0001770744
  The Way Love Looks                              PA0001690197
  This                                            PA0001734179
  Throw It Up                                     PA0001770748
  Time Bomb                                       PA0001015195
  Toes                                            PA0001649712
  Toma                                            PA0001590902
  What Lurks On Channel X                         PA0000960690




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                              Copyrights of Bughouse

                   Song Title                   Copyright Registration
   Amen                                  PA0001842305
   Billionaire                           PA0001697965
   Bow Chicka Wow Wow                    PA0001742733
   Casualty Of Love                      PA0001743327
   Green Light                           PA0001646379
   Grenade                               PA0001742742
   Hello Brooklyn 2.0                    PA0001659412
   Johnny                                PA0001680085
   Just The Way You Are                  PA0001713510
   Lighters                              PA0001744259
   Liquor Store Blues                    PA0001742741
   LIVING IN THE SKY WITH DIAMONDS       PA0001671411
   Marry You                             PA0001742736
   MY GIRLFRIEND                         PA0001661148
   One Day                               PA0001671336
   One Day (Featuring Akon)              PA0001744218
   Our First Time                        PA0001742740
   Paper Planes (Remix)                  PA0001674292
   Runaway Baby                          PA0001742738
   Sick Of It                            PA0001854463
   Somewhere In Brooklyn                 PA0001712567
   Storm Warning                         PA0001747034
   Talking To The Moon (Album Version)   PA0001712563
   That Should Be Me                     PA0001738563
   The Lazy Song                         PA0001742737
   The Other Side                        PA0001715481
   The Pants                             PA0001674351
   The Recipe                            PA0001641295
   The Thrill Is Gone                    PA0001779472
   Who Dat Girl                          PA0001734509
   You Do The Math                       PA0001674341




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                               Copyrights of Hitco Music

                  Song Title                    Copyright Registration
   Best Thing I Never Had                PA0001752857
   Blindfold Me                          PA0001380364
   DJ Play A Love Song                   PA0001308179
   Echo                                  PA0001727653
   In The Middle                         PA0001389818
   Warm Bed                              PA0001308178
   Young Love                            PA0001324521
   Fly Away                              PA0000908652




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                    Copyrights of Hitco Music Publishing d.b.a Hitco Music

                  Song Title                       Copyright Registration
  Appetite                                 PA0001687431
  Bang It Up                               PA0001614338
  Bug A Boo                                PA0001023868
  Dig A Hole                               PA0001384591
  Dimelo                                   PA0001589349
  Do You Know                              PA0001589353
  Freakshow                                PA0001732676
  It's Me Bitches (Remix)                  PA0001634712
  Lights On                                PA0001381214
  Now That You Got It                      PA0001368762
  Pretty Boy                               PA0001637317
  Rock You                                 PA0001688032
  Show Me The Way                          PA0001687930
  Sucka For Love                           PA0001637305
  This Boy's Fire                          PA0001638571
  Up All Night                             PA0001371228
  Upgrade U                                PA0001384822




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                Copyrights of Hitco Music Publishing LLC d.b.a Hitco South

                     Song Title                  Copyright Registration
   Beyonce Interlude                      PA0001208965
   Bills, Bills, Bills                    PA0000956317
   Come See About Me                      PA0001043800
   Get It For Life                        PA0001638148
   Gift From Virgo                        PA0001208968
   Give Love A Try                        PA0000939997
   I Can't Go On                          PA0000939998
   Ignorant Shit                          PA0001657701
   Me Against The Music                   PA0001200339
   No Scrubs                              PA0000954604
   Pop Your Collar                        PA0001033012
   Preacher On A Sunday Morning           PA0001638141
   Speechless                             PA0001208966
   Survivor                               PA0001120777
   The Hook Up                            PA0001200340
   There You Go                           PA0001003960
   Trouble Nobody                         PA0001253841
   Yes                                    PA0001208971




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                              Copyrights of Hitco South

                 Song Title                    Copyright Registration
   Like A Boy                           PA0001167377
   Middle Of You                        PA0001749963
   Never Let You Go                     PA0001292952
   Oh                                   PA0001305521
   Pop 4 Roc                            PA0001039235
   Take Me As I Am                      PA0001389800
   Wake Up                              PA0001340258




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                              Copyrights of Music of Windswept

                    Song Title                     Copyright Registration
   2 Minute Warning                         PA0001736370
   Absolute Power                           PA0001727028
   Ain't Nobody Worryin                     PA0001318509
   American Saturday Night                  PA0001674346
   Ass Like That                            PA0001283989
   Bang Out                                 PA0001266317
   Better In The Long Run                   PA0001780768
   Bianca's And Beatrice's                  PA0001727026
   Big Weenie                               PA0001283989
   Bounce                                   PA0001146360
   Break Your Neck                          PA0001146361
   Catch All The Fish                       PA0001674347
   Cocaina                                  PA0001337439
   Don't Forget To Remember Me              PA0001309015
   Encore                                   PA0001283988
   Endlessly                                PA0001869588
   Evil Deeds                               PA0001283989
   Fair Exchange                            PA0001105366
   Fresh Pair Of Panties On                 PA0001266318
   Fuck Friendz                             PA0001051874
   Get Low                                  PA0001599525
   Get Out Of This Town                     PA0001590007
   Gorgeous                                 PA0001671672
   Honky Tonk Badonkadonk                   PA0001288298
   I'll Take You Back                       PA0001312246
   I'm Sorry                                PA0001770728
   Imma Tell                                PA0001727014
   It Won't Be Like This For Long           PA0001669727
   It's Alive                               PA0001725443
   It's Raining You                         PA0001312247
   Just Lose It                             PA0001283989
   Keep On Keepin' On                       PA0001727017
   Lay Low                                  PA0001195261
   Monstar                                  PA0001697474
   Mosh                                     PA0001283989
   Natalie                                  PA0001869825
   Never Enough                             PA0001283990


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   Niggaz Nature                       PA0001051887
   Now It's On                         PA0001727041
   Planet Rock 2K                      PA0001727032
   Psycho Bitch                        PA0001725435
   Rain Man                            PA0001283989
   Right Round                         PA0001649211
   Sinister Tech                       PA0001725433
   The Industry Is Punks               PA0001727011
   Time Well Wasted                    PA0001312248
   Tormented                           PA0001725430
   Trapped In A Psycho's Body          PA0001727021
   What Happened                       PA0001347643
   Words Get In The Way                PA0001614693
   Worst Enemy                         PA0001727026
   Yada, Yada, Yada                    PA0001727029
   You Don't Have To Worry             PA0001051890
   3d                                  PA0001697969
   Clueless                            PA0001733333
   Someday When I Stop Loving You      PA0001696479
   Southern State Of Mind              PA0001727415




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                              Copyrights of Windswept Pacific

                 Song Title                        Copyright Registration
   Sinister Mob                             PA0001029314
   Baggage                                  PA0001389801
   Can't Get Enough                         PA0001389802
   If I Died Today                          PA0001661336
   My Cowboy                                PA0001672978
   Runnin                                   PA0001395747
   Smile                                    PA0001649068
   These Days                               PA0001113927
   World Go Round                           PA0001655830




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         Copyrights of Windswept Holdings, LLC d/b/a Songs of Windswept Pacific

                 Song Title                      Copyright Registration
   Better People                          PA0001374029
   Casino Nation                          PA0001137087
   Chrome                                 PA0001088149
   Daddy's Little Girl                    PA0001370951
   Don't Blame Your Daughter (Diamonds)   PA0001645958
   Enjoy                                  PA0001371964
   God Is Real                            PA0001157343
   Godspell                               PA0001645958
   Good Morning Joan                      PA0001645958
   Holy Love                              PA0001645958
   How Do You Sleep                       PA0001688084
   I Am Not My Hair                       PA0001374030
   In The Round                           PA0001645958
   Into Ya                                PA0001688076
   Letter To The King                     PA0001612589
   Never Stop                             PA0001137087
   Obsession                              PA0001146340
   Ol' English                            PA0001382121
   Overload                               PA0001645958
   Paris                                  PA0001391420
   Pure Gold                              PA0001693833
   Simple Song                            PA0001605432
   Something I Can Feel                   PA0001671443
   Stay Together                          PA0001595486
   Talk To Her                            PA0001157343
   That's How I Like It                   PA0001270293
   The Cowboy In Me                       PA0001050787
   The Point Of It All                    PA0001631133
   The Truth                              PA0001157343
   This Is How We Roll                    PA0000971858
   Yellow                                 PA0001640456




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             Copyrights of Windswept Holdings LLC d/b/a Music of Windswept

                 Song Title                      Copyright Registration
   100 Yard Dash                          PA0001612668
   Arizona                                PA0001376453
   Back Down                              PA0001223366
   Backstage Girl                         PA0001593586
   Be Somebody                            PA0001615767
   Bitch Please II                        PA0001022537
   Black Thumbnail                        PA0001376453
   Business                               PA0001090372
   California Waiting                     PA0001199987
   Camaro                                 PA0001376453
   Charmer                                PA0001376453
   Closer                                 PA0001615767
   Cold Desert                            PA0001615767
   Crawl                                  PA0001615767
   Day Old Blues                          PA0001374036
   Dear John Letter                       PA0001157348
   Fans                                   PA0001376453
   Genius                                 PA0001199987
   Happy Alone                            PA0001199987
   Help Me Understand                     PA0001088148
   Higher                                 PA0001268474
   Holy Roller Novocaine                  PA0001199987
   I Want You                             PA0001615767
   If I Can't                             PA0001198405
   I'm Back                               PA0001022536
   In Da Club                             PA0001223363
   Joe's Head                             PA0001199987
   King Of The Rodeo                      PA0001374036
   Knocked Up                             PA0001376453
   Let It Out                             PA0001638168
   Love                                   PA0001609399
   Machine                                PA0001685402
   Manhattan                              PA0001615767
   Mcfearless                             PA0001376453
   Miss You                               PA0001199775
   Molly's Chambers                       PA0001199987
   My Dad's Gone Crazy                    PA0001090373


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   My Party                             PA0001376453
   Notion                               PA0001615767
   Oh Love                              PA0001596023
   On Call                              PA0001376453
   One Of Those Days                    PA0001157349
   Patiently Waiting                    PA0001198402
   Pistol Of Fire                       PA0001374037
   Press Play                           PA0001638155
   Ragoo                                PA0001376453
   Red Morning Light                    PA0001199987
   Rememo                               PA0001374036
   Revelry                              PA0001615767
   Say Goodbye Hollywood                PA0001090374
   Say What You Say                     PA0001090371
   Sex On Fire                          PA0001615767
   Slow Night, So Long                  PA0001374036
   Soft                                 PA0001374037
   Some Mistakes                        PA0001596022
   Sometimes                            PA0001612668
   Spiral Staircase                     PA0001199987
   Start A Band                         PA0001621979
   The Real Slim Shady                  PA0001022539
   The Re-up                            PA0001379257
   The Runner                           PA0001376453
   This Is Gonna Take All Night         PA0001640998
   Ticks                                PA0001596021
   Trani                                PA0001199987
   True Love Way                        PA0001376453
   Trunk                                PA0001376453
   Use Somebody                         PA0001615767
   Velvet Snow                          PA0001374036
   Wasted Time                          PA0001199987
   Who Knew?                            PA0001022538
   Waste Of Time                        PA0001638158
   Laughed Until We Cried               PA0001596027
   My Memory Ain't What It Used To Be   PA0001596024
   Above And Below                      PA0001594028
   Angelina                             PA0001594028
   Bad Sun                              PA0001594028
   Believe                              PA0001594028
   Fistful Of Sand                      PA0001594028



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   Split Me Wide Open                  PA0001594028
   This Is Not The End                 PA0001594028
   Time Won't Let Me Go                PA0001594028
   Tragedy Bound                       PA0001594028




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             Copyrights of Windswept Holdings LLC (d.b.a. Pacific Wind Music)

                  Song Title                      Copyright Registration
   Heavy Liftin                            PA0001196529




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            Copyrights of Windswept Holdings, LLC (d.b.a. Songs of Windswept)

                    Song Title                    Copyright Registration
   Sweet Vacation                          PA0001371227




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                             Copyrights of Windswept Music

                Song Title                       Copyright Registration
   Questions                              PA0000920042




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                               Copyrights of Kara DioGuardi

                  Song Title                     Copyright Registration
   I've Got You                          PA0001226115
   Love Won't Get Any Better             PA0001226112




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                             Copyrights of Trio Music Co., Inc.

                Song Title                         Copyright Registration
   Clones                                   PA0001167887




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                               Copyrights of Heavens Research

                  Song Title                       Copyright Registration
   Crack Rock                               PA0001851622
   End                                      PA0001851622
   Forrest Gump                             PA0001851622
   I Miss You                               PA0001752856
   Sierra Leone                             PA0001851622




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                        Copyrights of Mammaws Cornbread Music

                 Song Title                     Copyright Registration
   Springsteen                           PA0001765743




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                            Copyrights of Murrah Music Corp.

                   Song Title                       Copyright Registration
   All My Friends Say                        PA0001588828
   Baby's On The Way                         PA0001588840
   Country Man                               PA0001590520
   First Love Song                           PA0001588840
   Grandpa Told Me So                        PA0000676366
   I'll Stay Me                              PA0001588840
   I'm In A Hurry (And Don't Know Why)       PA0000595034
   No Small Miracle                          PAu002085824
   Over The River                            PA0001588844
   Playboys Of The Southwestern World        PA0001128343
   We Rode In Trucks                         PA0001588857




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                              Copyrights of Amalfi Coast Music

                     Song Title                        Copyright Registration
   Every Word Is A Knife In My Ear            PA0001597028
   The Ocean                                  PA0001597028
   Slow Poison                                PA0001686322
   Adored                                     PA0001686322
   Song For Jacob                             PA0001686322
   Hatefuck                                   PA0001686322
   I Am Your Skin                             PA0001686322
   The Spectator                              PA0001686322
   I Have Seen The Future                     PA0001686322
   Red Hands, and White Knuckles              PA0001686322
   Sugar Pill                                 PA0001686322
   She Wolf                                   PA0001678120
   Jack-o'-lantern Man                        PA0001686322
   Men In This Town                           PA0001678120




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                                Copyrights of Boneidol Music

                   Song Title                          Copyright Registration
   Shock To The System                        PA0000642571
   Adam In Chains                             PA0000642572
   Sweet Sixteen                              PA0000316717
   Don't Need A Gun                           PA0000316719




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                                 Copyrights of Rare Blue Music, Inc.

                    Song Title                         Copyright Registration
   Promises In The Dark                        PA0000108953
   Atomic                                      PA0000057839
   Heart Of Glass                              PA0000047164
   Hanging On The Telephone                    PA0000047155
   Sunday Girl                                 PA0000047163
   Do The Dark                                 PA0000115214
   Hell Is For Children                        PA0000101496
   Ooh Ooh Song                                PA0000245248
   All Fired Up                                PA0000398508
   One Way Or Another                          PA0000047156




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                       Copyrights of Rare Blue Music, Inc. and Boneidol

                   Song Title                      Copyright Registration
   White Wedding - Part 1 & 2              PA0000159638
   Hot In The City                         PA0000159639
   Catch My Fall                           PA0000214888
   Eyes Without A Face                     PA0000248893
   Flesh For Fantasy                       PA0000214887




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                               Copyrights of GTR Hack Music

                  Song Title                      Copyright Registration
   Disposable Teens                       PA0000953659
   This Is The New Shit                   PA0001155083




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                              Copyrights of John Legend Publishing

                    Song Title                           Copyright Registration
   Again                                        PA0001372207
   Alright                                      PA0001274651
   Coming Home                                  PA0001372211
   Each Day Gets Better                         PA0001372204
   Good Morning                                 PA0001677838
   Good Morning (Intro)                         PA0001677838
   Heaven                                       PA0001372201
   I Can Change                                 PA0001274654
   It Don't Have To Change                      PA0001274656
   Let's Get Lifted                             PA0001274650
   Let's Get Lifted Again                       PA0001274656
   Live It Up                                   PA0001274658
   Magnificent                                  PA0001651715
   Never Forget You                             PA0001738485
   Number One                                   PA0001274653
   Ordinary People                              PA0001274655
   Pda (We Just Don't Care)                     PA0001372205
   Prelude                                      PA0001274649
   Save Room                                    PA0001372200
   She Don't Have To Know                       PA0001274652
   So High                                      PA0001274657
   Sun Comes Up                                 PAu002986782
   This Time                                    PA0001677830
   Used To Love U                               PA0001285705
   The New Workout Plan                         PA0001159069




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                                Copyrights of Will I Am Music

                   Song Title                           Copyright Registration
   Fergalicious                                PA0001165469
   Clumsy                                      PA0001165468
   All That I Got (The Make-up Song)           PA0001165467
   Glamorous                                   PA0001166841
   Check It Out                                PA0001733426
   Union                                       PA0001162793




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                                  Copyrights of Will.I.Am Music, Inc.

                    Song Title                               Copyright Registration
   Anxiety                                          PA0001190466
   Audio Delite at Low Fidelity                     PA0001334562
   Ba Bump                                          PA0001334568
   Bebot                                            PA0001334561
   Beep                                             PA0001323409
   Donque Song, The                                 PA0001634018
   Don't Lie                                        PA0001334564
   Dum Diddly                                       PA0001334567
   Dynamite (Interlude)                             PA0001634041
   Fantastic                                        PA0001634037
   Fashion Beats                                    PA0001732774
   Feel It                                          PA0001334566
   Get Your Money                                   PA0001634038
   Gone Going                                       PA0001334570
   Heartbreaker                                     PA0001634041
   Hey Mama                                         PA0001190459
   I Got It From My Mama                            PA0001395514
   Imma Be                                          PA0001682852
   Impatient                                        PA0001634039
   Invisible                                        PA0001634033
   Labor Day (It's A Holiday)                       PA0001190457
   Let's Get Retarded                               PA0001190458
   Like That                                        PA0001334565
   Make It Funky                                    PA0001634041
   My Humps                                         PA0001334569
   My Style                                         PA0001334563
   Over                                             PA0001634019
   Paradise                                         PA0001387449
   S.o.s. (Mother Nature)                           PA0001634041
   Spending Money                                   PA0001660087
   They Don't Want Music                            PA0001334572
   Voodoo Doll                                      PA0001166847
   Wake Up                                          PA0001389487
   Weekend                                          PA0001635200
   What's That Right There                          PA0001645060




                                                  114
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                Copyrights of Quincy Jones (d.b.a. YellowBrick Road Music)

                    Song Title                       Copyright Registration
   Love Is In Control (Finger On The Trigger) PA0000148212
   P.y.t. (Pretty Young Thing)                PA0000159305
   Man In The Mirror                          PA0000343903




                                            115
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                    Copyrights of Quincy Jones d.b.a. Rashida Music

                Song Title                       Copyright Registration
   Harlequin                              PA0000264307




                                          116
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                  Copyrights of Quincy Jones d.b.a. State of the Arts Music

                  Song Title                        Copyright Registration
   Light Up The Night                        PA0000078251




                                             117
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                                 Copyrights of Buzzard Rock Music

                    Song Title                       Copyright Registration
   Instrumental Illness                       PA0001150091




                                               118
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                               Copyrights of Barland Music

                  Song Title                          Copyright Registration
   Don't Wanna Know Why                      PA0001083484




                                           119
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                         Copyrights of Flying Earform Music

                   Song Title                  Copyright Registration
   A Matter Of Time                     PA0001742559
   ANOTHER ROUND                        PA0001330229
   Arlandria                            PA0001742559
   Back & Forth                         PA0001742559
   Best Of You                          PA0001330229
   Bridge Burning                       PA0001742559
   But, Honestly                        PA0001602326
   Cheer Up Boys (Your Make Up Is       PA0001602326
   Running)
   COLD DAY IN THE SUN                  PA0001330229
   Come Alive                           PA0001602326
   Dear Rosemary                        PA0001742559
   Doa                                  PA0001330229
   END OVER END                         PA0001330229
   Erase / Replace                      PA0001602326
   Free Me                              PA0001330229
   HELL                                 PA0001330229
   Home                                 PA0001602326
   I Should Have Known                  PA0001742559
   IN YOUR HONOR                        PA0001330229
   Let It Die                           PA0001602326
   Long Road To Ruin                    PA0001602326
   MIRACLE                              PA0001330229
   Miss The Misery                      PA0001742559
   NO WAY BACK                          PA0001330229
   ON THE MEND                          PA0001330229
   Over And Out                         PA0001330229
   RESOLVE                              PA0001330229
   Rope                                 PA0001742559
   Statues                              PA0001602326
   STILL                                PA0001330229
   SUMMER'S END                         PA0001602326
   THE DEEPEST BLUES ARE BLACK          PA0001330229
   THE LAST SONG                        PA0001330229
   The Pretender                        PA0001602326
   These Days                           PA0001742559
   VIRGINIA MOON                        PA0001330229


                                        120
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   Walk                                PA0001742559
   WHAT IF I DO?                       PA0001330229
   Wheels                              PA0001678922
   White Limo                          PA0001742559
   Word Forward                        PA0001678922




                                       121
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                              Copyrights of Good Clean Dirt

                 Song Title                       Copyright Registration
   Splitter                                PA0001897406
   Para                                    PA0001897406
   The Vanishing Mind                      PA0001897406
   Sinner In The Sea                       PA0001897406
   Algiers                                 PA0001897406
   Better and Better                       PA0001897406
   Hush                                    PA0001897406




                                           122
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                               Copyrights of King Arnold Songs

                  Song Title                       Copyright Registration
   The Painter Song                         PA0001100803




                                             123
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                                 Copyrights of Lunada Bay

                    Song Title                    Copyright Registration
   Fortune Teller                          PA0001897408




                                           124
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                             Copyrights of Lunada Music

                Song Title                     Copyright Registration
   Puerto                               PA0001897409




                                        125
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                                  Copyrights of McFearless Music

                     Song Title                       Copyright Registration
   Taper Jean Girl                             PA0001273584
   Razz                                        PA0001273584
   Four Kicks                                  PA0001273584
   The Face                                    PA0001770743
   The Bucket                                  PA0001273584




                                               126
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                         Copyrights of Mechanical Panther Music

                  Song Title                     Copyright Registration
   Loneliness Game                        PA0000543837
   I'm Loving Every Moment With You       PA0000485450




                                          127
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                        Copyrights of Shakur Al Din Music Publishing

                   Song Title                      Copyright Registration
   Stick 2 The Script                       PA0001048622




                                            128
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                                Copyrights of Spaceway Music

                   Song Title                      Copyright Registration
   Made of Stone                            PA0001782275




                                            129
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                          Copyrights of Them Young Boys Music

                 Song Title                      Copyright Registration
   Maybe Someday                          PA0001367881
   Hell And High Water                    PA0001367881




                                          130
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                                 Copyrights of Val Jester Music

                  Song Title                         Copyright Registration
   Secret Meeting                             PA0001380181
   Daughters of the SoHo Riots                PA0001380181
   Abel                                       PA0001380183
   Lit Up                                     PA0001380183
   Looking For Astronauts                     PA0001380183
   Karen                                      PA0001380182




                                              131
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                             Copyrights of Ruthensmear Music

                Song Title                        Copyright Registration
   Dear Lover                              PA0000885606




                                           132
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                              Copyrights of Alkaline Trio

                 Song Title                          Copyright Registration
   Private Eye                              PA0001292638




                                          133
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                                   Copyrights of Big Deal Music

                     Song Title                            Copyright Registration
   A New Life                                     PA0001852775
   Actress                                        PA0001852775
   All Is Forgiven                                PA0001852775
   Always Maybe                                   PA0001852907
   Broken Soldier                                 PA0001852696
   Dear One                                       PA0001852775
   Don't Play with Guns                           PA0001852696
   Evil Things                                    PA0001852696
   Exploding                                      PA0001852775
   Holland                                        PA0001852696
   Indigo Meadow                                  PA0001852696
   Know Til Now                                   PA0001852775
   Love Me Forever                                PA0001852696
   State of The Art (A.E.I.O.U.)                  PA0001852775
   The Day                                        PA0001852696
   Twisted Light                                  PA0001852696
   War on Holiday                                 PA0001852696
   You're Mine                                    PA0001852696




                                               134
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                                  Copyrights of C’est Music

                   Song Title                       Copyright Registration
   Two Little Sisters (Theme From Marvin's   PA0000896406
   Room)
   You're So Vain                            PA0001214584




                                             135
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                           Copyrights of Castle Street Music, Inc.

                  Song Title                       Copyright Registration
   Back In This Cigarette                   PA0001383390




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                               Copyrights of Chris Cornell

                  Song Title                     Copyright Registration
   A Thousand Days Before                 PA0001858827
   Been Away Too Long                     PA0001858811
   Bones Of Birds                         PA0001858829
   By Crooked Steps                       PA0001858822
   Non-State Actor                        PA0001858814




                                           137
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       Copyrights of Walpurgis Night Music & In One Ear and Out Your Mother Music

                 Song Title                      Copyright Registration
   Room a Thousand Years Wide             PA0000569426




                                          138
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                      Copyrights of You Make Me Sick I Make Music

                 Song Title                       Copyright Registration
   Birth Ritual                            PA0000588274
   Black Hole Sun                          PA0000689752
   Blow Up The Outside World               PA0000780802
   Boot Camp                               PA0000780792
   Face Pollution                          PA0000569423
   Fell On Black Days                      PA0000689746
   Jesus Christ Pose                       PA0000569422
   Kickstand                               PA0000689758
   Let Me Drown                            PA0000689744
   Limo Wreck                              PA0000689745
   Mailman                                 PA0000689754
   Mind Riot                               PA0000569427
   New Damage                              PA0000570831
   No Attention                            PA0000780796
   Outshined                               PA0000569420
   Pretty Noose                            PA0000780807
   Rusty Cage                              PA0000569419
   Searching With My Good Eye Closed       PA0000569425
   Slaves And Bulldozers                   PA0000569421
   Spoonman                                PA0000689755
   Superunknown                            PA0000689748
   The Day I Tried To Live                 PA0000689750
   Never Named                             PA0000780800
   Zero Chance                             PA0000780805
   Rhinosaur                               PA0000780806
   Applebite                               PA0000780799




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                           Copyrights of Cold and Grey Publishing

                  Song Title                      Copyright Registration
   All That I Am Living For                PA0001381149




                                            140
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                                Copyrights of Field Code Music

                   Song Title                       Copyright Registration
   Pattern Recognition                       PA0001241992
   Unmade Bed                                PA0001241992
   Stones                                    PA0001241992
   Dude Ranch Nurse                          PA0001241992
   Paper Cup Exit                            PA0001241992
   I Love You Golden Blue                    PA0001241992
   New Hampshire                             PA0001241992
   Peace Attack                              PA0001241992




                                             141
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                              Copyrights of Firehouse Cat Music

                 Song Title                        Copyright Registration
   Not Like The Movies                      PA0001711659
   Pearl                                    PA0001711650




                                             142
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                        Copyrights of Freak off the Leash Music

                Song Title                       Copyright Registration
   Sun Song                               PA0001880665




                                          143
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                                Copyrights of Hee Bee Dooinit Music

                   Song Title                          Copyright Registration
   Another Way                                  PA0000846585
   Cool Joe, Mean Joe (Killer Joe)              PA0000773805
   Girl                                         PA0000982402




                                                144
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                                 Copyrights of Heebeedooinit Music

                    Song Title                         Copyright Registration
   Keep The Faith                               PA0000584076




                                                145
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                                 Copyrights of Hennesy for Everyone

                  Song Title                           Copyright Registration
   1983 Remix                                   PA0001877804
   Crazy                                        PA0001893834
   Dos Equis                                    PA0001877788
   Gangsta Gangsta                              PA0001877795
   I Came To Kill                               PA0001877800
   Killer's Remorse                             PA0001892425
   Louis XIII                                   PA0001892428
   Movies                                       PA0001892427
   Napalm                                       PA0001876228
   Phenom                                       PA0001893835
   Spread It Out                                PA0001893836
   State Of Hip Hop vs. Xzibit                  PA0001876228
   Throw It Like It's Free                      PA0001881843
   Up Out The Way                               PA0001877803




                                                146
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                              Copyrights of Highway 87 Music

                 Song Title                       Copyright Registration
   Bible On The Dash                       PA0001877171




                                           147
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                             Copyrights of James Osterberg Music

                Song Title                          Copyright Registration
   Bad Boys                                  PA0001031317




                                             148
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                    Copyrights of John Dawson Winter d.b.a. Johnny Winter

                    Song Title                      Copyright Registration
   Black Cat Bone                            PA0001633702




                                             149
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                             Copyrights of Johnny Winter

                Song Title                      Copyright Registration
   Mean Town Blues                       RE0000771119




                                         150
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                                Copyrights of Joundsongs

                   Song Title                    Copyright Registration
   All The Time Every Day                 PA0001869067
   Black Nemo                             PA0001869067
   Down Down The Deep River               PA0001869067
   It Was My Season                       PA0001869067
   Lido Pier Suicide Car                  PA0001869067
   On A Balcony                           PA0001869067
   Pink-Slips                             PA0001869067
   Stay Young                             PA0001869067
   Walking Without Frankie                PA0001869067
   Where The Spirit Left Us               PA0001869067
   White                                  PA0001869067




                                          151
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                         Copyrights of Moonlight Canyon Publishing

                   Song Title                      Copyright Registration
   Could You Lie                            PA0000985843




                                            152
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                             Copyrights of Raylene Music

                Song Title                      Copyright Registration
   So Small                              PA0001742366
   Help Me Remember                      PA0001595534
   Grown Woman                           PA0001754602
   Cold As Stone                         PA0001756573
   American Honey                        PA0001734053
   Last Name                             PA0001742423
   Just A Dream                          PA0001742365




                                         153
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                                Copyrights of Sadguitarius

                 Song Title                       Copyright Registration
   Congratulations                         PA0001698364
   Time To Pretend                         PA0001699779
   Electric Feel                           PA0001700308
   4th Dimensional Transition              PA0001699779
   Weekend Wars                            PA0001699779
   The Youth                               PA0001700308
   Kids                                    PA0001699779
   Of Moons, Birds & Monsters              PA0001699779
   The Handshake                           PA0001699779
   Future Reflections                      PA0001699779




                                           154
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                                Copyrights of Songs of Big Deal

                   Song Title                        Copyright Registration
   Pick Up A Gun                              PA0001897460




                                              155
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                          Copyrights of Tefnoise Publishing LLC

                 Song Title                       Copyright Registration
   Chop Me Up                              PA0001368887
   Sippin On Some Syrup                    PA0001108397




                                           156
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                              Copyrights of Tentative Music, Inc.

                 Song Title                          Copyright Registration
   Hello Hello                                PA0001877463




                                              157
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                         Copyrights of The.bag.on-line.adventures

                   Song Title                     Copyright Registration
   The Ring In Return                      PA0001700570
   The Broken                              PA0001702364
   Second Stage Turbine Blade              PA0001700608
   Time Consumer                           PA0001700608
   Devil In Jersey City                    PA0001700608
   Everything Evil                         PA0001700608
   Delirium Trigger                        PA0001700632
   Hearshot Kid Disaster                   PA0001700608
   33                                      PA0001700632
   Junesong Provision                      PA0001700608
   Neverender                              PA0001700608
   Cuts Marked In The March Of Men         PA0001700570
   The Crowing                             PA0001700570
   Blood Red Summer                        PA0001700570
   A Favor House Atlantic                  PA0001700570
   No World For Tomorrow                   PA0001702358
   The Hound (Of Blood And Rank)           PA0001702358
   Feathers                                PA0001702358
   The Running Free                        PA0001700580
   Mother Superior                         PA0001702358
   Gravemakers and Gunslingers             PA0001702358
   Justice In Murder                       PA0001702358
   Far                                     PA0001702365
   World Of Lines                          PA0001702364
   Guns of Summer                          PA0001702364
   Here We Are Juggernaut                  PA0001702364
   This Shattered Symphony                 PA0001702364
   The Black Rainbow                       PA0001702364
   In The Flame Of Error                   PA0001702364




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                     Copyrights of Woody Guthrie Publications, Inc.

                 Song Title                      Copyright Registration
   At My Window Sad And Lonely            PA0000814175
   Feed Of Man                            PA0001022753
   Someday, Some Morning, Sometime        PA0001022753
   Gonna Be A Blackout Tonight            PA0001208584




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                             Copyrights of Chi-Boy Music

                Song Title                      Copyright Registration
   Everybody                             PA0001347934




                                         160
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                               Copyrights of Hillary Lindsey

                  Song Title                       Copyright Registration
   Jesus Take The Wheel                     PA0001346124




                                            161
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                           Copyrights of First Big Snow Publishing

                  Song Title                        Copyright Registration
   Never Been Alive                          PA0001877184
   Open Ended Life                           PA0001877184
   The Clearness is Gone                     PA0001877184




                                             162
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                             Copyrights of Geno Lenardo

                Song Title                     Copyright Registration
   Penance                              PA0001852104
   Villify                              PA0001852104




                                        163
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                                Copyrights of Pear Blossom Music

                   Song Title                        Copyright Registration
   Chinese Apple                              PA0001189165




                                              164
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                               Copyrights of Turtle First Music

                  Song Title                        Copyright Registration
   The King Is Dead But the Queen Is Alive   PA0001835502
   The Truth About Love                      PA0001833897




                                             165
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                               Copyrights of Robert Kleiner

                  Song Title                      Copyright Registration
   What Part Of Forever                    PA0001700566




                                           166
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                             Copyrights of Security Hogg Music

                Song Title                         Copyright Registration
   Crazy                                    PA0000230869




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                         Copyrights of The Strokes Band Music

                Song Title                      Copyright Registration
   Chances                               PA0001834204




                                         168
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                      Copyrights of In Thee Face Music Publishing

                Song Title                       Copyright Registration
   15 Minutes                             PA0001780696




                                          169
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                         Copyrights of Art In The Fodder Music

                Song Title                       Copyright Registration
   Break In                               PA0001791303




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